UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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WILLIAM F. HASPER,
                                                                          Docket No.:
                                            Plaintiff,                    20-cv-2349

                          - against -

COUNTY OF NASSAU, DETECTIVE/SERGEANT                                      COMPLAINT
WILLIAM S. RUSSELL, DETECTIVE RYAN M.
LUNT, DETECTIVE VINCENZO VACCHIANO,
DETECTIVE THOMAS A. ROCHE, DETECTIVE
BARRY PURCELL, DETECTIVE JONATHAN
PANUTHOS, DETECTIVE/SERGEANT NABIL
HUSSAIN, LIEUTENANT VALERIE F. TROISE,                                    JURY TRIAL
and JOHN DOES NO. 1 AND NO. 2,                                            DEMANDED

                                             Defendants.
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      Plaintiff, WILLIAM F. HASPER, by and through his attorneys The Law Office of
Anthony M. Grandinette, alleges the following:


                                   INTRODUCTORY STATEMENT

  1. Plaintiff, William F. Hasper, commenced this action due to the various defendants
violating his rights and privileges guaranteed to him by the United States Constitution, as well as
by the Constitution and laws of the State of New York, starting on February 15, 2019, and
continued thereafter. Among other constitutional infringements, Defendants falsely arrested
Hasper on February 17, 2019, subsequently caused him to be unlawfully stopped twice, once at
gunpoint, and maliciously prosecuted him based upon charges they knew were fabricated, all in
order to cover up the improper conduct of Defendant Nassau County D/Sgt. William Russell.


                                     JURISDICTION AND VENUE

  2. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth, and
Fourteenth Amendments to the United States Constitution, and the Constitution and laws of the
State of New York.

  3.    Jurisdiction is founded upon 28 U.S.C. §§ 1331, 1343, and 2202.

 4. Plaintiff further invokes the supplemental jurisdiction of this Court to adjudicate pendant
New York State law claims pursuant to 28 U.S.C. § 1367.

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 5.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2).


                                           PARTIES

  6. Plaintiff, WILLIAM F. HASPER (“Hasper”), is a resident of the County of Nassau, State
of New York.

  7. Defendant COUNTY OF NASSAU (“Nassau County”) is a county within the State of
New York. At all times relevant herein, Nassau County was the public entity under which the
Nassau County Police Department (“NCPD), its political subdivision, was organized, and was
the public employer of the individually-named and John Doe defendants in this action, who at all
times relevant herein were employed by the NCPD and acted under color of state law and within
the scope of their employment.

  8. Defendant DETECTIVE/SERGEANT WILLIAM S. RUSSELL, D/Sgt. Shield No. 133,
current Sgt. Shield No. 596, ID No. 8785 (“D/Sgt. Russell”), is a resident of Nassau County,
State of New York. At all relevant times herein, D/Sgt. Russell was an employee of the NCPD, a
political subdivision of Defendant Nassau County, and at all relevant times herein acted under
color of state law, and within the scope of his employment and/or in his individual capacity.
D/Sgt. Russell is being sued in his individual and official capacities.

  9. Defendant DETECTIVE RYAN M. LUNT, Shield No. 1313, ID No. 8894 (“Det. Lunt”),
is a resident of Nassau County, State of New York. At all relevant times herein, Det. Lunt was an
employee of the NCPD, a political subdivision of Defendant Nassau County, and at all relevant
times herein acted under color of state law, and within the scope of his employment and/or in his
individual capacity. Det. Lunt is being sued in his individual and official capacities.

  10. Defendant DETECTIVE VINCENZO VACCHIANO, Shield No. 960, ID No. 8310
(“Det. Vacchiano”), is a resident of Suffolk County, State of New York. At all relevant times
herein, Det. Vacchiano was an employee of the NCPD, a political subdivision of Defendant
Nassau County, and at all relevant times herein acted under color of state law, and within the
scope of his employment and/or in his individual capacity. Det. Vacchiano is being sued in his
individual and official capacities.

  11. Defendant DETECTIVE THOMAS A. ROCHE, ID No. 8705 (“Det. Roche”), is believed
to be a resident of Nassau County, State of New York. At all relevant times herein, Det. Roche
was an employee of the NCPD, a political subdivision of Defendant Nassau County, and at all
relevant times herein acted under color of state law, and within the scope of his employment
and/or in his individual capacity. Det. Roche is being sued in his individual and official
capacities.

  12. Defendant DETECTIVE BARRY PURCELL, Shield No. 906, ID No. 6920 (“Det.
Purcell”), is a resident of Nassau County, State of New York. At all relevant times herein, Det.
Purcell was an employee of the NCPD, a political subdivision of Defendant Nassau County, and
at all relevant times herein acted under color of state law, and within the scope of his

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employment and/or in his individual capacity. Det. Purcell is being sued in his individual and
official capacities.

  13. Defendant DETECTIVE JONATHAN PANUTHOS, ID No. 8486 (Det. Panuthos”), is
believed to be a resident of Suffolk County, State of New York. At all relevant times herein, Det.
Panuthos was an employee of the NCPD, a political subdivision of Defendant Nassau County,
and at all relevant times herein acted under color of state law, and within the scope of his
employment and/or in his individual capacity. Det. Panuthos is being sued in his individual and
official capacities.

  14. Defendant DETECTIVE/SERGEANT NABIL (‘Bill’) HUSSAIN, Shield No. 200, ID
No. 864 (“D/Sgt. Hussain”), is believed to be a resident of Queens or Nassau County, State of
New York. At all relevant times herein, D/Sgt. Hussain was an employee of the NCPD, a
political subdivision of Defendant Nassau County, and at all relevant times herein acted under
color of state law, and within the scope of his employment and/or in his individual capacity.
D/Sgt. Hussain is being sued in his individual and official capacities.

  15. Defendant LIEUTENANT VALERIE F. TROISE, Shield No. 459, ID No. 8190 (“Lt.
Troise”), is a resident of Suffolk County, State of New York. At all relevant times herein, Lt.
Troise was an employee of the NCPD, a political subdivision of Defendant Nassau County, and
at all relevant times herein acted under color of state law, and within the scope of her
employment and/or in her individual capacity. Lt. Troise is being sued in her individual and
official capacities.

  16. Defendant JOHN DOE NO. 1 (“John Doe. No. 1”) was, at all relevant times herein, a
male detective employed by the NCPD, a political subdivision of Defendant Nassau County, and
at all relevant times herein, acted under color of state law, and within the scope of his
employment and/or in his individual capacity. Plaintiff does not yet know John Doe No. 1’s
identity, however Defendants do know his identity. John Doe No. 1 unlawfully entered
Plaintiff’s home on February 15, 2019 along with Det. Roche, and unlawfully remained therein.
He may be, but is not necessarily, one of the other individually-named detective defendants—
Det. Lunt, Det. Vacchiano, Det. Purcell, or Det. Panuthos. John Do. No. 1 is being sued in his
individual and official capacities. Plaintiff is placing Defendants on notice that after he learns
John Doe No. 1’s identity, unless John Doe No. 1 is already individually-named as a defendant
in this action, Plaintiff will seek leave to amend his Complaint to name John Doe No. 1
accordingly.

  17. Defendant JOHN DOE NO. 2 (“John Doe. No. 2”) was, at all relevant times herein, a
male Police Officer employed by the NCPD, a political subdivision of Defendant Nassau
County, and at all relevant times herein, acted under color of state law, and within the scope of
his employment and/or in his individual capacity. Plaintiff does not yet know John Doe No. 2’s
identity, however Defendants do know his identity. John Doe No. 2 unlawfully entered
Plaintiff’s home on February 15, 2019 along with Det. Roche and John Doe No. 1, and
unlawfully remained therein. John Do. No. 2 is being sued in his individual and official
capacities. Plaintiff is placing Defendants on notice that after he learns John Doe No. 2’s
identity, he will seek leave to amend his Complaint to name John Doe No. 2 accordingly.

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  18. Plaintiff is placing Defendants on notice that should he learn during the course of
discovery of additional conduct committed by Defendants which may give rise to liability, or of
the identities of additional individuals, particularly employees of the NCPD, who committed acts
which may give rise to liability, that he will seek to amend his Complaint to allege additional
claims and/or to name additional defendants, accordingly.


                   NEW YORK NOTICE OF CLAIM REQUIREMENTS

  19. On May 14, 2019, after some of the events giving rise to allegations in this Complaint
and prior to commencing this action, Plaintiff served a timely Notice of Claim on Nassau County
(which also named certain defendants individually named herein) in compliance with New York
General Municipal Law § 50-e. See Exhibit A.

  20. On February 19, 2020, following Plaintiff’s criminal trial and his acquittal of certain
charges therein and prior to commencing this action, Plaintiff served a second Notice of Claim
on Nassau County (which likewise named certain defendants individually named herein) in
compliance with GML § 50-e. See Exhibit B.

 21. At least thirty days have elapsed since the service of each Notice of Claim, and Nassau
County has neglected or refused to adjust or pay the claims.

  22. Plaintiff was examined pursuant to GML § 50-h on May 1, 2020, prior to commencing
this action.

  23. As to the pendant state law claims, this action was commenced within one year and
ninety days after the incidents upon which these claims arose.


                       FACTUAL AND GENERAL ALLEGATIONS

         PLAINTIFF’S EDUCATIONAL AND EMPLOYMENT BACKGROUND

  24. Hasper comes from a long line of police officers. His grandfather, also named William F.
Hasper, joined the New York City Police Department (“NYPD”) in 1943, and served as a
distinguished member for 34 years. Hasper’s father, also named William F. Hasper, joined the
NYPD in 1963 after serving in the United States Air Force for four years, and served as a
distinguished member of the NYPD for 36.5 years until he retired in 1999. Hasper’s brother,
James E. Hasper, started his career in the NYPD in 1999, and he is currently in his 21st year of
service, serving in the NYPD’s 42nd Precinct. Hasper also had two uncles who proudly served
an additional combined 63 years of service between the NYPD, the New York City Fire
Department, and the City of Newark Police Department in New Jersey.

  25. At the age of 17, after graduating from Deer Park High School in 1984, Hasper attended
the United States Military Academy at West Point. Hasper graduated from West Point on May
25, 1988 with degrees in Engineering and Management. Between August and December 1988,

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Hasper attended the United States Army Air Defense Artillery School at Fort Bliss in El Paso,
Texas, where he graduated as his class valedictorian. Between January and April 1989, Hasper
attended and graduated from the United States Army Ranger School at Fort Benning in
Columbus, Georgia. Hasper began his first assignment in May 1989, as a Second Lieutenant,
Platoon Leader, in Giessen, Germany, assigned to a Patriot Missile Battery.

  26. During his five years of military education and training, Hasper learned the significance
of obeying the orders of his superior officers and acting in a respectful manner to all of his
colleagues.

  27. Hasper went on to serve his country as an officer and elite Airborne Ranger for the
United States Army. From December 1990 until June 1991, Hasper was deployed and proudly
served in combat operations during the First Gulf War, as part of Operations Desert Shield and
Desert Storm. Hasper was a Tactical Control Officer in charge of a Patriot Missile Battery, and
was actively engaged in launching Patriot Missiles at incoming Scud Missiles in defense of the
city of Tel Aviv, Israel. Hasper was honorably discharged from the United States Army, active
duty, in 1991.

  28. During his four-year tenure as an officer and Airborne Ranger, including during active
wartime service, Hasper displayed the discipline of respecting and obeying the orders of his
superior officers, even under the most difficult of circumstances.

  29. After his honorable discharge from the United States Army, Hasper continued on as a
Captain in the United States Army Reserves while maintaining employment with Merrill Lynch,
until his discharge on December 31, 1996. However, after being honorably discharged and no
longer on active duty status, Hasper wanted to serve his community as a police officer, as his
father and grandfather did before him.

 30. On December 6, 1993, Hasper was appointed to, and began his career with, the Suffolk
County Police Department (“SCPD”).

  31. Between January 1997 and July 2000, Hasper served as a Police Officer in the Highway
Patrol Bureau (“HPB”). Hasper was engaged in the specific duty of enforcing the Vehicle and
Traffic Laws of the State of New York. During his tenure in the HPB, Hasper conducted
thousands of vehicle traffic stops pursuant to his training, and the rules and procedures of the
SCPD. While assigned to the HPB, Hasper was assigned as a Field Training Officer, and was
responsible for training other Police Officers in the application of the SCPD rules and procedures
related to vehicle traffic stops. As a result, on February 15, 2019, the date the events giving rise
to this lawsuit began, Hasper had a keen understanding of the New York State Vehicle and
Traffic Laws, and the rules and procedures pertaining to traffic stops and the issuance of traffic
summons, and he was intimately familiar with the actions a law enforcement officer would take
during a vehicle and traffic stop.

  32. In July 2000 Hasper was promoted to Sergeant. From July 2000 until August 2004, he
served as a Patrol Sergeant for the SCPD First Precinct, Suffolk County’s most active precinct.
As a Patrol Sergeant, Hasper was responsible for supervising and training up to 20 Police

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Officers during each tour of duty, and throughout his tenure as a Sergeant, Hasper instructed on,
and reinforced, the policies, rules, and procedures of the SCPD to Police Officers under his
command. Accordingly, he was required to be intimately familiar with the policies, rules, and
procedures of the SCPD, to ensure that all those under his command followed them. These
policies, rules, and procedures included, but were not limited to, vehicle and traffic stops, proper
communication during traffic stops, safety protocols, accident reports, criminal investigations,
and engaging in professional behavior in all police activities (CPR—Courtesy, Professionalism,
Respect).

  33. From August 2004 through February 2005, Hasper was assigned to the SCPD Second
Precinct Crime Section Unit as the Supervising Sergeant. The Crime Section Unit consisted of
five members who were responsible for investigating and prosecuting misdemeanor crimes and
violations. In that capacity, Hasper directly supervised and trained four Police Officers—“Junior
Detectives”—in investigations and arrests of perpetrators for misdemeanor crimes and
violations, committed within the confines of the Second Precinct.

  34. In February 2005, Hasper was promoted to Lieutenant. From February 2005 until July
2007, he served as a Patrol Lieutenant for the Second Precinct. In that capacity, Hasper worked
the overnight tour, and as a result, was the Office of the Second Precinct during each tour of
duty. Hasper supervised a squad of up to 40 uniformed Patrol Officers, and five Sergeants. As a
Patrol Lieutenant, he was also responsible for the overall operations and supervision of the
Second Precinct and those members assigned thereto, on a daily basis. As with his duties and
responsibilities as a Sergeant, as a Lieutenant, Hasper instructed on, and reinforced, the policies,
rules, and procedures of the SCPD to those under his command, and accordingly, he was
required to be intimately familiar with the policies, rules, and procedures of the SCPD to ensure
that those under his command followed them.

  35. In July 2007, Hasper was appointed Commanding Officer of the SCPD Court Liaison
Section. In that capacity, he supervised a 14-member unit which dealt with processing prisoners,
the administration and coordination of arrest paperwork, and communications and appearances
of police personnel within the Suffolk County Court system which included the County, District,
Family, and Supreme Courts.

  36. On April 9, 2012, after serving for 19 years and five months, Hasper retired as a
Lieutenant from the SCPD due to a permanent disability. He had previously been involved in an
on-duty fatal motor-vehicle accident, during which he suffered physical injuries to his head,
neck, and back, which had progressively worsened over time.

  37. On February 15, 2019, the date the events giving rise to this lawsuit began, Hasper had
great respect for all police personnel, given that in total, commencing in 1943 and continuing to
this day, Hasper, along with his grandfather, father, brother, and two uncles, served a combined
173 years as police officers within the State of New York and New Jersey. In short, police
service was, and is, an ingrained family tradition in the Hasper household.

 38. For 28 consecutive years, starting at the age of 17 when he joined the United States
Military Academy at West Point in 1984 and through his retirement from the SCPD in 2012,

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Hasper worked within a strict chain of command. As a result, the personality trait of respecting
police and military authority is so ingrained in him, that he continues to do so to the present day.
Based upon his military and police background, Hasper will automatically respond to all police
personnel in the field in a positive and professional manner, e.g., responding “Yes sir.”


                    HASPER’S ENCOUNTER WITH D/SGT. RUSSELL

  39. D/Sgt. Russell and other defendants made several false and outrageous claims against
Hasper in order to justify Hasper’s false arrest, which are completely contrary to Hasper’s nature
and training. Specifically, they falsely claimed that following a minor traffic incident in a bank
parking lot, Hasper, being completely unprovoked, started screaming at D/Sgt. Russell, calling
him a “fuckin asshole and a cock sucker.” D/Sgt. Russell claimed that thereafter, Hasper
disobeyed a lawful order, and intentionally struck D/Sgt. Russell six times with his pickup truck
injuring D/Sgt. Russell, prior to Hasper fleeing the scene.

  40. The following events described in paragraphs 41 through 98 lasted approximately eight
minutes and 28 seconds, and were recorded on surveillance videos from a 7/11, see Exhibit C,
and the Laundry Stadium. See Exhibit D. Unfortunately, neither video captured audio.

  41. On February 15, 2019, D/Sgt. Russell was assigned to the NCPD Internal Affairs Unit. At
approximately 12:25 PM, D/Sgt. Russell was on-duty, however he was dressed in plainclothes
and was driving an unmarked four-door sedan police car, and there was nothing to identify him
as a member of law enforcement, or his vehicle as belonging to law enforcement.

  42. D/Sgt. Russell was driving down Old Country Road in Westbury, New York, which, at
that location, is a four-lane roadway—two lanes eastbound and two lanes westbound—with a
common turn lane in between. D/Sgt. Russell was traveling westbound on Old Country Road and
made a left-hand turn, without using his directional signal, to enter the Bethpage Federal Credit
Union located at 750 Old County Road, Westbury, New York (“BFCU”).

  43. Despite being on-duty at the time, D/Sgt. Russell went to the bank for personal matters—
to deposit $950 cash into his personal checking account, and to withdraw $3,000 from his
business account.

  44. Hasper was driving his pickup truck, and likewise made the left turn from the turning
lane in order to enter the bank’s parking lot.

  45. However, D/Sgt. Russell never fully entered the parking lot. Rather, he stopped his
vehicle on the apron of the parking lot entrance, as he waited for a parking spot to open up. As a
result, the front-end of his vehicle was obstructing the entrance to the bank’s parking lot, the
middle of his vehicle was obstructing the sidewalk, and the rear bumper of his vehicle was
slightly obstructing a portion of the right-hand eastbound-travel lane of Old Country Road.

  46. D/Sgt. Russell remained in that position for approximately one minute. There were no
physical obstructions or traffic impediments that prevented him from driving his vehicle into the

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parking lot, and it was obvious that he elected to impede traffic until a spot became available to
him.

  47. D/Sgt. Russell frequently visited the Westbury branch of the BFCU at least over the
course of the prior year and a half, and indeed leaves in that vicinity. Therefore, he was aware of
traffic patterns in the area, and knew that the bank parking lot was often full and busy, especially
over the lunch hour.

  48. Conversely, Hasper was a new member of the BFCU, and as of February 15, 2019, had
only been to the Westbury location on one prior occasion, when he opened an account four days
prior.

  49. When Hasper made the left-hand turn in order to enter the bank’s parking lot, he
anticipated that the car in front of him would proceed forward into the parking lot, which would
have allowed him to likewise enter the parking lot. Given his elevated seating in the pickup
truck, Hasper did not observe anything that would have prevented the car in front of him from
proceeding forward. When Hasper made the left-hand turn, he did so in a reasonable and prudent
fashion, as Old Country Road was clear of oncoming traffic at that time.

  50. Unfortunately, D/Sgt. Russell remained stationary on the apron of the parking lot, thereby
continuing to block its entrance. This caused Hasper’s truck to block the eastbound travel lanes
on Old Country Road. Not wanting to obstruct traffic or to cause an accident, Hasper lightly
taped his horn twice, alerting D/Sgt. Russell of his situation, and requesting that D/Sgt. Russell
pull forward. However, this angered D/Sgt. Russell. Rather than pulling forward to allow Hasper
to enter the parking area, D/Sgt. Russell intentionally remained stationary, leaving Hasper’s
vehicle exposed to oncoming traffic.

  51. After waiting approximately five seconds, when another vehicle travelling eastbound on
Old Country Road was approaching Hasper’s truck and started honking at Hasper given the
obstruction, Hasper once again taped his horn twice, alerting D/Sgt. Russell of his situation,
anticipating that D/Sgt. Russell would do the safe and courteous thing and pull forward. Once
again, however, rather than pulling forward to allow Hasper to enter the parking lot and move
out of the roadway, D/Sgt. Russell intentionally remained stationary, continuing to leave
Hasper’s vehicle exposed to oncoming traffic. At the same time, D/Sgt. Russell looked at Hasper
through his side view mirror and smirked at him, making it clear to Hasper that he was
deliberately refusing to pull forward.

  52. After approximately another five seconds, a second vehicle travelling eastbound on Old
Country Road approached, and was likewise forced to stop because D/Sgt. Russell caused
Hasper’s truck to obstruct the roadway. The drivers of both vehicles which were forced to stop
were honking their horns at Hasper, therefore at this time, Hasper honked his horn more
deliberately for several seconds, ensuring that D/Sgt. Russell was aware of the urgency of the
situation he was creating.




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  53. Each time Hasper tapped, and then later honked, his horn, he did so simply in a manner to
alert D/Sgt. Russell of a potentially dangerous traffic situation, and for no other reason. Hasper
utilized his horn for its intended purpose, and his doing so was both necessary and lawful.

  54. Finally, and only after a parking spot opened up in the bank’s parking lot, D/Sgt. Russell
started pulling forward, which allowed Hasper to enter the parking lot as well. That, in turn,
allowed the two vehicles which were stopped on Old Country Road, to continue driving
eastbound.

  55. Given that only one parking spot had become available, Hasper backed his truck into the
empty handicapped spot, where he remained briefly with his truck running, until such time as a
spot opened up. He did so in order to avoid obstructing Old Country Road as D/Sgt. Russell had
done, and as a courtesy to other motorists on the road. Hasper stood idol with his truck motor
running, and at no time did he “park” his vehicle, as defined in the New York State Vehicle and
Traffic law, in the BFCU handicapped parking spot.

  56. At this point, the matter with D/Sgt. Russell should have concluded, had D/Sgt. Russell
simply walked inside the BFCU to perform his personal banking.

  57. Instead, D/Sgt. Russell walked in the opposite direction of the bank’s entrance, over to
Hasper’s driver’s side window while Hasper was still straightening his truck in the parking spot,
and yelled, “Hey asshole, do we have a problem here?!” D/Sgt. Russell was visibly enraged that
Hasper had honked his horn at him and requested that he pull forward into the parking lot, before
a parking spot had become available.

  58. While Hasper was moving in reverse straightening his truck, he was paying attention to
his backup camera and immediate vicinity to ensure he did not strike a pedestrian or another
vehicle, both of his hands were occupied with the wheel and the shift column, and therefore, he
was not paying any attention to D/Sgt. Russell prior to D/Sgt. Russell appearing at his driver’s
side window.

  59. Because D/Sgt. Russell was not in uniform, did not display a shield, and he had not been
driving a marked police vehicle, there was no way Hasper could have known that D/Sgt. Russell
was a police officer.

  60. Hasper calmly responded to D/Sgt. Russell, stating, in sum and substance, ‘Why didn’t
you pull up? You saw I was blocking traffic and people were honking at me.’

  61. Still enraged, D/Sgt. Russell angrily shouted, “Hey guy, the way it works around here is
you fucking wait, you fucking wait, and when it’s clear then you fucking pull in. Got it?!”

  62. Visibly enraged, D/Sgt. Russell continued screaming and spitting at Hasper. In response
to D/Sgt. Russell’s extreme behavior, Hasper told him, “Real nice, asshole,” to which D/Sgt.
Russell responded, “I’ll show you who the fucking asshole is! You’ll see who the asshole is!”




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  63. This entire verbal exchange lasted approximately 15 seconds. Thereafter, D/Sgt. Russell
walked to the rear of Hasper’s truck, where he remained, pacing at times, for approximately 33
seconds, until another parking spot opened up and Hasper parked his truck in it.

 64. D/Sgt. Russell’s behavior was outrageous, unprofessional, and disturbing.

  65. Unlike D/Sgt. Russell, Hasper attempted to deescalate the situation. After getting out of
his truck, he walked away from D/Sgt. Russell and walked toward the bank. As he did so, he
observed D/Sgt. Russell standing on the sidewalk near the handicapped spot, speaking on his cell
phone.

  66. Seeing him walk away, D/Sgt. Russell shouted after Hasper, “Hey tough guy, don’t think
you’re just walking away from this. You’ll see who the fucking asshole is.” Hasper responded,
“Fuck off pal,” and then added, “Have a nice day asshole,” as he continued toward the bank and
entered.

  67. Upon entering the bank, Hasper approached the bank’s security guard, Cameron Grady
(“Grady”), and apologized for the commotion, explaining that he had merely honked his horn at
the car in front of him because it was blocking the entrance to the parking lot.

 68. Hasper then got in line to speak with a teller, and filled out a deposit slip. While he
waited, D/Sgt. Russell repeatedly circled Hasper’s truck, while speaking on his cell phone.

  69. While waiting in line at the bank, Hasper looked out through a window toward the
parking lot, and noticed D/Sgt. Russell staring him down, with arms crossed.

  70. Hasper believed that D/Sgt. Russell may have been calling friends when he observed him
on the phone, and was perhaps looking to engage him in a physical altercation. Wanting to avoid
any further confrontation with D/Sgt. Russell, verbal or physical, and to deescalate the situation,
Hasper decided to leave the bank.

  71. Disturbed by D/Sgt. Russell’s irrational behavior and threatening comments, on his way
out Hasper told Grady that the guy outside was acting irrational and Hasper didn’t know who
that guy was calling, that he, Hasper, had a bad back and he did not want any problems, and
would Grady please “watch my back” as he went to his car. Hasper told Grady that he would
return to do his banking later on.

  72. Upon exiting BFCU, Hasper walked directly to his truck. D/Sgt. Russell approached him,
and despite being completely unprovoked, immediately started making threatening and
unprofessional comments to Hasper, such as, “Hey tough guy, what the fuck do you think you’re
doing?! Where the fuck do you think you’re going?!” These comments reaffirmed Hasper’s
belief that D/Sgt. Russell was looking for trouble, and Hasper wanted no part of it.

  73. Despite D/Sgt. Russell’s statements, Hasper ignored him and continued walking directly
to his truck, wanting to leave the area to avoid any potential physical confrontation.



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 74. However, after Hasper entered his truck to back out of the parking spot and drive away,
D/Sgt. Russell stood behind the truck to attempt to prevent him from leaving the parking lot.

  75. While watching D/Sgt. Russell in his backup camera, and utilizing his truck’s rear sensor
device, Hasper inched backwards slowly, careful to avoid coming into contact with D/Sgt.
Russell. Hasper’s truck never came into contact with D/Sgt. Russell.

  76. When he could no longer back up without touching D/Sgt. Russell, Hasper placed his
truck in park, exited his vehicle, walked to the rear of his truck, and said to D/Sgt. Russell, “Hey,
you have no right to block my egress from this parking lot, I am just trying to get out of here!”
Hasper then reentered his truck and continued inching backward carefully, ensuring that he did
not come into contact with D/Sgt. Russell, or any vehicle that was near him. At that point, D/Sgt.
Russell slowly moved to the passenger side of the truck, and Hasper was able to angle out
backwards out of the head-in parking spot.

  77. Hasper then continued turning his wheel to the left to continue straightening his truck, so
that he could drive forward and out of the parking lot, and then slowly started driving forward.
At the same time, D/Sgt. Russell moved toward the front of Hasper’s truck. Wanting to leave the
area to avoid a physical confrontation, Hasper slowly continued inching forward to leave the
parking lot. At that time, he noticed Grady rushing forward on his left, so he rolled down his
window to seek Grady’s assistance.

  78. Grady had observed the encounter though the bank’s glass door, and had come outside to
try to ensure that the situation did not escalate while he was on duty.

  79. Given D/Sgt. Russell’s refusal to move out of the way, Hasper inched forward very
slowly and carefully to insure no one was injured and to leave the scene. At the same time,
Grady, who at this time was standing near the driver’s side front bumper of Hasper’s truck, was
yelling at D/Sgt. Russell to “get out of his way! What are you doing?! You can’t do that, let him
go!”

  80. Despite D/Sgt. Russell’s later claims to the contrary, he never had his shield out. Rather,
as Hasper observed and Grady confirmed, D/Sgt. Russell was holding the cell phone which
Hasper had observed him speaking on earlier.

  81. Hasper carefully drove out of the BFCU parking lot to proceed eastbound on Old Country
Road. He paused before entering Old Country Road to ensure it was safe to do so. Both
eastbound lanes were clearly visible to him, and he observed that they were both free and clear of
oncoming traffic.

  82. D/Sgt. Russell moved away from the front of Hasper’s truck, and Hasper then turned into
the right-hand lane on Old Country Road and proceeded eastbound. In Hasper’s mind, he had
just avoided a very volatile road rage incident which may have turned physical. Having been a
police officer for approximately 20 years, Hasper was unfortunately all too familiar with road
rage incidents that turn ugly, and being levelheaded, he wanted nothing to do with it.



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  83. Contrary to D/Sgt. Russell’s subsequent claims that he repeatedly identified himself as an
officer to Hasper, displayed his shield several times, and told Hasper he was not free to leave and
that a patrol car was on its way to conduct an investigation, D/Sgt. Russell had never done or
said any of these things.

  84. In fact, throughout the entire incident, D/Sgt. Russell never said or did anything which
would have indicated to Hasper that D/Sgt. Russell was a member of law enforcement.
Throughout this entire encounter, D/Sgt. Russell acted in a manner that was clearly contrary to
the rules and procedures which police officers are trained in pertaining to vehicle stops and
pursuits, which, if he had acted in accordance with those rules and procedures, may have alerted
Hasper to the fact that D/Sgt. Russell was a member of law enforcement.

  85. At no time during this entire incident did D/Sgt. Russell identify himself as a sergeant, or
any other member of law enforcement, display his shield or identification card, ask for Hasper’s
license, registration, and/or insurance card, activate the lights or siren in his unmarked vehicle,
use a radio, or say or do anything else which someone behaving as police officer would do.
Rather, D/Sgt. Russell’s behavior was anti-social, his language sophomoric and threatening, and
his conduct dangerous and aggressive. In short, there was no reason for Hasper, or Grady, a
security officer, to believe that D/Sgt. Russell was a member of law enforcement during this
brief encounter in the parking lot.

 86. Accordingly, at no time prior to exiting, and while he exited, the BFCU parking lot, did
Hasper believe, or have reason to believe, that D/Sgt. Russell was a police officer.

 87. At no time prior to Hasper exiting, and while he exited, the BFCU parking lot, did D/Sgt.
Russell give him any lawful order.

 88. At no time prior to Hasper exiting, and while he exited, the BFCU parking lot, was D/Sgt.
Russell performing or attempting to perform a lawful duty.

  89. At no time prior to exiting, and while he exited, the BFCU parking lot, did Hasper intend
to prevent D/Sgt. Russell from performing a lawful duty.

  90. At no time prior to exiting, and while he exited, the BFCU parking lot, did Hasper intend
to cause physical injury to D/Sgt. Russell.

  91. At no time prior to exiting, and while he exited, the BFCU parking lot, did Hasper cause
physical injury to D/Sgt. Russell, or have reason to believe that D/Sgt. Russell was injured.

  92. At no time prior to exiting, and while he exited, the BFCU parking lot, did Hasper have
reason to believe that he was involved in a motor vehicle accident.

  93. At no time prior to exiting, and while he exited, the BFCU parking lot, did Hasper have
reason to believe that there was a motor vehicle accident, which resulted in injury to D/Sgt.
Russell.



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  94. At no time prior to exiting, and while he exited, the BFCU parking lot, did Hasper have
reason to believe that he was involved in a reportable motor vehicle accident, which would
require him to exchange information or remain at the scene.

  95. Hasper left the bank parking lot that day to avoid, not create, a dangerous or unjustifiable
risk. Hasper, with the assistance of Grady, left the BFCU parking lot in a cautious, slow, and
controlled manner, with the intent to avoid injury to D/Sgt. Russell, and to avoid, not create,
further confrontation between the two men.

  96. Accordingly, at the time Hasper exited the BFCU parking lot, he was unaware of, nor did
he consciously disregard, a substantial or unjustifiable risk of causing serious physical injury to
anyone at the scene.

  97. After Hasper drove down Old Country Road, D/Sgt. Russell stood on the roadway,
looking eastbound down Old Country Road after Hasper’s truck. D/Sgt. Russell then sprinting
back to his car, got in, and then sped out of the parking lot in pursuit of Hasper.

  98. D/Sgt. Russell never activated the lights or siren in his unmarked vehicle, did not use the
radio in his car, did not use a portable radio (in fact, he did not have one on him, in violation of
the NCPD rules and procedures), and did not call 911 for assistance on any recorded line. While
D/Sgt. Russell did call the Third Precinct on his cell phone, that was yet another violation of the
NCPD rules and procedures.


       THE FALSE NARRATIVE DEFENDANTS KNOWINGLY CONCOCTED
            TO CREATE THE APPEARANCE OF PROBABLE CAUSE,
   IN ORDER TO JUSTIFY HASPER’S UNLAWFUL ARREST AND PROSECUTION

  99. D/Sgt. Russell was unable to locate Hasper’s truck, so he returned to the BFCU parking
lot. He had called the Internal Affairs Unit, where he was assigned, and requested that a
colleague run the license plate number from Hasper’s truck.

  100. D/Sgt. Russell also called Inspector Nicholas Stillman, the Commanding Officer of the
NCPD Internal Affairs Unit. The NCPD Internal Affairs Unit reports directly to the Office the
Police Commissioner, and therefore, Inspector Stillman wields tremendous authority as a high-
ranking officer.

  101. Inspector Stillman called Det. Ryan M. Lunt, who was assigned to the Third Squad on
February 15, 2019, and told him that one of his guys was involved in an incident at the BFCU
parking lot.

  102. Numerous police personnel, including high ranking officials, responded to the BFCU.
The following are some of the police personnel who responded: Lt. Valerie F. Troise, the Officer
in Charge of the Third Precinct; D/Sgt. Nabil (‘Bill’) Hussain, the supervisor of the Third Squad
detectives assigned to this case; Det. Lunt, the carrying detective in this case; and Det. Vincenzo



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Vacchiano, Det. Thomas Roche, Det. Barry Purcell, and Det. Jonathan Panuthos, the other
detectives who were part of the Third Squad investigating team assigned to this case.

  103. D/Sgt. Russell had previously been assigned to the Third Squad, for approximately 10
years, and all those who responded to the scene knew him well.

  104. Prior to the police response to the BFCU parking lot, D/Sgt. Russell was walking around
normally, without indicating any pain or discomfort. However, as the police personnel
responded, Grady observed D/Sgt. Russell suddenly start limping about. D/Sgt. Russell was not
injured, and he feigned a limp in order to pretend to be injured.

  105. D/Sgt. Russell spoke with the police personnel who responded to the scene, and told them
that Hasper was shouting and cursing at him, and struck him with his truck. D/Sgt. Russell told
them that Hasper pissed him off, and he wanted Hasper locked up.

  106. The police personnel at the scene, including all individually-named defendants—D/Sgt.
Russell, Det. Lunt, Det. Vacchiano, Det. Purcell, Det. Panuthos, Det. Roche, D/Sgt. Hussain, and
Lt. Troise—discussed coming up with a theory, and how they were going to go about obtaining
information, to support charging Hasper with various crimes, regardless of whether the actual
facts supported these crimes.

  107. Following this discussion in the BFCU parking lot, Det. Lunt, Det. Vacchiano, D/Sgt.
Hussain, and, upon information and belief Lt. Troise, entered the bank. They spoke with Grady,
as well as with the bank’s Assistant Branch Manager, Lorena Baez.

  108. When these defendants approached Baez, they asked for “the video of William Hasper
causing a problem in the bank.” Baez however told them that there were no problems in the bank
that day, and that she did not know what they were referring to.

  109. Baez showed these defendants footage of the interior of the bank, and after these
defendants had Grady identify Hasper on the video, she showed them the video for the timeframe
when Hasper had come in and out of the bank. Det. Lunt, Det. Vacchiano, D/Sgt. Hussain, and,
upon information and belief Lt. Troise, observed Hasper calmly walking into the bank,
approaching and briefly speaking with Grady, take and complete a deposit slip and wait in line
for a few minutes, look toward the parking lot, and calmly approach Grady again and briefly
speak with him on his way out.

  110. Det. Lunt, Det. Vacchiano, D/Sgt. Hussain, and, upon information and belief Lt. Troise,
knew, from Baez as well as from the bank’s interior security video, that contrary to D/Sgt.
Russell’s claim, Hasper was not loud and irrational. Rather, he was calm and collected.

  111. Det. Lunt, Det. Vacchiano, D/Sgt. Hussain, and, upon information and belief Lt. Troise,
also spoke with Grady. When these defendants asked Grady about Hasper’s yelling and cursing,
Grady told them that Hasper was a gentleman and behaved normally, and that the other
individual was the one who was cursing and screaming and causing problems. Grady told them
that the other individual was angry and yelling, was looking for trouble, and looked like he

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wanted to fight. Grady told them that as Hasper left the bank, Hasper asked him for help. On the
other hand, when the other individual was trying to stop Hasper from leaving, Grady yelled at
him to get out of the way because the other individual had no right to stop Hasper from leaving,
however this other individual would not listen to him. Grady told these defendants that Hasper
was just trying to leave, and he was careful not to hit the other individual. When they mentioned
to Grady that this other individual was a cop and referenced D/Sgt. Russell identifying himself as
such, Grady told them that this individual never said he was a cop, never presented a shield, and
that no one knew that individual was a cop.

  112. Based upon the information they obtained from Grady, as well as from Baez and the
security video she showed them, Det. Lunt, Det. Vacchiano, D/Sgt. Hussain, and, upon
information and belief Lt. Troise, knew that the claims D/Sgt. Russell had made—that he had
identified himself as an officer but that Hasper was hostile and irrational and struck him with his
vehicle—were false.

  113. When they existed the bank, Det. Lunt, Det. Vacchiano, D/Sgt. Hussain, and, upon
information and belief Lt. Troise, discussed the information they obtained from Grady, Baez, and
the video she showed them, with the other NCPD personnel who were present in the parking lot.

  114. All individually-named defendants knew that Grady was the only eye-witness to the
incident in the parking lot and that his account of the incident clearly demonstrated that Hasper
did not commit any crimes or violations. Therefore, they all knew that based upon Grady’s
account, there was no probable cause to arrest or charge Hasper.

  115. Additionally, all individually-named defendants knew that Grady was an unbiased
witness, and is therefore deemed to be inherently trustworthy as a matter of law. Therefore, they
knew that if Grady’s account contradicted D/Sgt. Russell’s version of the events, which they all
knew it did, then it was unreasonable to believe that D/Sgt. Russell was telling the truth as his
veracity was called into question. Accordingly, they knew that D/Sgt. Russell’s claims therefore
could not support a finding of probable cause to arrest and/or charge Hasper.

  116. Accordingly, to create incriminating evidence as D/Sgt. Russell and the other
individually-named defendants had discussed doing prior to Baez’s and Grady’s interviews, and
to ensure that the “evidence” they “gathered” corroborated, and did not contradict, the factual
account they discussed and agreed to attribute to D/Sgt. Russell, Defendants intentionally failed
to make any record of the information provided to them by Baez, and Det. Lunt wrote out a
supporting deposition in which he knowingly inserted false incriminating information against
Hasper which Defendants attributed to Grady, and they omitted critical facts Grady provided to
them which would have indicated that Hasper did not commit any crime that day.

  117. Based upon his agreement with the other individually-named defendants, Det. Lunt
included the following information in the supporting deposition they attributed to Grady:

               As he walked into the parking lot, I observed the male get into a
               black pickup truck which was parked in a parking spot closest to the
               bank. I then saw a male white with black hair and glasses wearing a

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                 dark colored suite standing behind the other male white’s black
                 pickup. It appeared that the male white in the suit was trying to
                 prevent the male in the black pickup from leaving. I saw the black
                 pickup then reverse and intentionally bump into the male white in
                 the suit multiple times until he pushed him out of the way. I then
                 saw the male white in the suit go to the front of the pickup to prevent
                 the pickup from leaving and again I saw the pickup being operated
                 by the same male white in the bank intentionally bump the male
                 white in the suit. I yelled to the man in the suit to “let him go”
                 because I was afraid he was going to get run over. After the incident
                 occurred, I reviewed the video surveillance system and confirmed
                 that the same guy in the bank video is the same guy who came up to
                 me, got in dark colored pickup truck and intentionally strike the
                 male white in the suit. . .

See Exhibit E.

  118. Defendants all ensured that this fabricated Supporting Deposition which they attributed to
Grady, was submitted to the Nassau County District Attorney’s Office (“NCDA”) as part of the
criminal file against Hasper. Because the fabricated Supporting Deposition was supposedly given
by an unbiased eye-witness who, according to the document, witnessed Hasper intentionally
strike D/Sgt. Russell multiple times, it greatly impacted the NCDA’s assessment as to Hasper’s
guilt, and directly resulted in the NCDA acquiescing in the charges Defendants brought against
Hasper and ultimately presenting the case before a grand jury.

  119. While Det. Lunt was the one who personally wrote the false statement which was
attributed to Grady, all individually-named defendants participated in fabricating Grady’s
supporting deposition. They all discussed the incident, agreed on the false story they were going
to spin, discussed the false information they were going to attribute to Grady, and prior to Det.
Lunt writing out the false statement itself, all individually-named defendants agreed to the false
content contained therein. They did so because they all shared a common goal, and were jointly
involved in a common scheme, to ensure that Hasper was falsely arrested and prosecuted.

  120. Det. Lunt, Det. Vacchiano, D/Sgt. Hussain, and Lt. Troise did not give Grady an
opportunity to read the statement prior to having Grady sign it. Rather, Det. Lunt merely directed
Grady to sign the statement.

  121. Grady was 22 years old at the time, and was therefore a relatively young and
inexperienced security guard. He believed that the police personnel he spoke with would
honestly and accurately record his eyewitness account of the events. Additionally, these
defendants spoke with Grady during lunchtime, the busiest time of day at the bank, and Grady
was the only security guard on duty at the time the defendants spoke with him and asked him to
sign the supporting deposition. Therefore, he was unable to devote his complete attention to them
and the statement they had prepared. Therefore, Grady signed where he was told to sign, without
having first read through the statement.



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  122. Grady read through the false statement he was told to sign, for the first time in January
2020.

  123. Thereafter, on January 6, 2020 prior to the commencement of Hasper’s criminal trial,
Grady personally hand-wrote the following letter to the Honorable Christopher Quinn, the
presiding Judge in Hasper’s criminal prosecution, which Grady signed and swore to before a
notary public:

               01/06/2020                                                Page 1 of 3

                        Dear Judge Quinn,
                        I am Cameron Grady. I wanted to tell you my concern[ ]
               about dealing with the [N]assau Police. The Police came to my
               mother’s house 11p.m.
                        I don’t want them coming back. I Just want to go to court
               and tell the truth at trial. The truth is that I did not write that Form
               that they call 32 - B. The Police wrote it while I was busy working
               on my shift. They did not even have me read it. They Just told me to
               sign it. I thought they wrote what I said, but they added things that I
               didn’t say. For example they wrote 3 times that [H]asper
               intentionally struck the guy in the suit. I never said that and he never
               struck him. The guy in the suit was the one acting all crazy. Hasper
               was a gentlem[a]n and was calm the whole time. The guy in the suit
               stood behind the truck, Hasper was carefully trying to leave. Then
               guy in the suit ran around the passenger side oF truck and stood
               inFront oF it. He had his cell phone in hand look like
                                                                        [signature]

                                                                     Page 2 of 3
               he was trying to take picture oF the truck. At no time did guy in suit
               have his Badge in hand. It was his cellphone. The guy in the suit did
               not Identify himself to [H]asper and me as a police oFFicer. The first
               time and only time he mention he is a cop is aFter [H]asper left in
               his truck. The guy in suit ran back to his car to follow [H]asper’s
               truck. He started to limp only aFter the Police showed up. Another
               thing that is not honest in Statement is where they wrote that the
               reason I was yelling at the guy in suit was to leave [H]asper alone,
               because I was scared that he would get ran over. OFcourse I
               wouldn[’]t want nobody to get ran over on my shiFt. The reason I
               was yelling For him to leave him alone because he was Jumping
               inFront man[’]s car not letting him leave and that[’]s not right you
               are not supposed to do that. When the guy in suit Jumped in Front
               of the truck [H]asper was careFul as he was trying to leave Parking
               lot. Nobody knew this guy was a Police Officer. He seemed to me
               to be a aggressive guy looking For Fight.
                                                                     [signature]

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                                                                       Page 3 of 3
                 I don[’]t know [H]asper, his investigator or his lawyer. Noone
                 threaten me or gave me anything to write this letter. I just wanted to
                 tell you these thing in my own words. I want to tell you everything
                 in Court and I don’t want Police to harass me or my mother.


                 Today[’]s Date is January 6, 2020.
                  [Signature]                       .
                 Cameron Grady


                 [Notarization appears below signature]

See Exhibit F.

  124. At approximately 4:30 PM, Hasper returned to the BFCU to conduct his banking,
believing that the events from earlier in the day were over. When he returned, he spoke with
Grady, who told him, for the first time, that the guy was a cop, and that numerous police
personnel had responded after Hasper left. Hasper asked what happened, and Grady told him
what he, Grady, told the police personnel who had spoken with him earlier, as described in
Paragraph 111, above.

  125. While speaking with Grady, Baez approached and asked to speak with Hasper. She told
him that three detectives interviewed her, and that they had asked for Hasper by name. She told
Hasper what she had told the police personnel who interviewed her, as described in Paragraphs
108 and 109, above. She emphasized the fact that she had stressed to the police that Hasper had
not caused any problems. Baez also told Hasper that she had spoken with the Alex Barahona,
who had opened Hasper’s account four days earlier, who said that Hasper ‘was a gentlemen and
really nice guy.’ Baez told Hasper that she showed the bank’s interior video to the police
personnel, and she then played that same video for Hasper to see. Baez emphasized that
according to the bank’s personnel present earlier in the day, Hasper had done nothing wrong. She
asked if Hasper wanted to file an incident report against D/Sgt. Russell, however Hasper
declined, wanting to put this incident behind him.


             DEFENDANTS’ ATTEMPTS TO HARRASS, HUMILIATE,
           AND UNLAWFULLY ARREST HASPER ON FEBRUARY 15, 2019

  126. Hasper left the bank at approximately, or just after, 5:00 PM. When he got into his truck,
he noticed two missed calls—one at 4:58 PM and the other at 5:00 PM. Det. Lunt had called
Hasper twice, and left a voicemail for Hasper to return his call at (516) 573-6353.

  127. After D/Sgt. Russell had called to report the incident earlier in the day, Defendants were
quickly able to confirm Hasper’s identity through his license plate number which D/Sgt. Russell

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provided, his vehicle registration information, observing him on the bank’s interior security
video, as well as through Baez and Grady.

  128. Defendants quickly ran a complete search on Hasper, and learned not only his relevant
pedigree information including where he lived and whom he lived with, but that he was a retired
Lieutenant from the SCPD, and that he was former military. Defendants then contacted the
SCPD and confirmed this information. At that moment, Defendants all knew that Hasper was not
a flight risk, and posed no immediate threat to anyone.

  129. Despite that, Det. Lunt, Det. Vacchiano, Det. Purcell, Det. Panuthos, and D/Sgt. Hussain,
along with other uniformed Police Officers whose identities Plaintiff does not yet know,
responded en masse to Hasper’s home address.

  130. When they descended on Hasper’s home, they quickly realized that no one was home.
Despite the fact that they had reliable information from multiple sources to confirm that it was in
fact Hasper’s home address, the defendants present at that time decided to humiliate Hasper and
his family in front of his neighbors, as retribution for ‘messing’ with D/Sgt. Russell—one of
their own—and interviewed the community supervisor of Hasper’s complex, Becky Connors,
about him.

  131. At 5:06 PM, Hasper returned Det. Lunt’s call. A female detective answered the phone,
and advised that Lunt was out of the office but to call him on his cell phone at (516) 660-3238.
At 5:08 PM, Hasper called the cell phone number provided to him, and thereafter he spoke with
Det. Lunt for approximately 22 minutes.

  132. Hasper introduced himself, and asked Det. Lunt why he was calling. Det. Lunt told
Hasper that he was at Hasper’s home, and wanted to meet with him. Hasper explained he was
unavailable at that moment because he had a pre-arranged meeting, and asked Det. Lunt,
“What’s this all about?” The following paragraphs describe some of they key points discussed
during that telephone conversation.

  133. Det. Lunt told Hasper that he wanted to speak with him about an incident that happened
earlier in the afternoon at the BFCU, and to get Hasper’s version of the events. Having already
spoken with Grady and Baez following the incident, Hasper asked Det. Lunt if the other
individual was a cop, to which Det. Lunt responded that the guy was Detective/Sergeant assigned
to the Internal Affairs Unit. Det. Lunt told Hasper that according to D/Sgt. Russell, D/Sgt.
Russell had identified himself as a cop, however despite that, Hasper cursed him out, and upon
leaving the parking lot struck D/Sgt. Russell with his vehicle.

  134. Hasper told Det. Lunt that what D/Sgt. Russell claimed was “crazy.” He told Det. Lunt
that the guy was completely out of control, and was acting totally irrationally. Hasper stated that
all he had done was beep his horn at D/Sgt. Russell because the guy was blocking the entrance to
the parking lot, however D/Sgt. Russell then approached and initiated a verbal confrontation,
stating “Hey asshole, do we have a problem here?!” Hasper told Det. Lunt that at no point did the
guy identify himself as an officer, and that “you and I both know, if he identified himself as a
cop, I would have identified myself and displayed my shield, which would have resolved the

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matter.” Hasper also told Det. Lunt that nowhere in police training do they teach you to block a
vehicle with your body, and that a cop would not have intentionally placed himself behind, or in
front of, a moving vehicle.

  135. Hasper also told Det. Lunt that at no time did he make contact with D/Sgt. Russell—not
physically with his body, and not with his vehicle. Hasper told Det. Lunt that he was driving a
full-size GMC pickup truck, and that if he had struck D/Sgt. Russell with it, D/Sgt. Russell
would have been injured. However, he told Det. Lunt, D/Sgt. Russell was not injured, and in fact
as Hasper drove down Old Country Road he watched D/Sgt. Russell through his rearview mirror,
and observed D/Sgt. Russell sprint back to the parking lot.

   136. Hasper also told Det. Lunt that after he had entered the bank and filled out a deposit slip,
he observed D/Sgt. Russell through the bank’s window, standing by the handicapped spot with
his arms crossed like someone who was looking for a problem. Hasper told Det. Lunt that his
entire time while in the bank was captured on the bank’s internal security system, which the
bank’s manager, Lorena Baez, had shown to him. He further told Det. Lunt that both Baez and
the bank’s security guard, Cameron Grady, told Hasper on his return to the bank just prior to this
phone conversation with Det. Lunt, that they had told the police that Hasper had not caused any
problems. Rather, Hasper told Det. Lunt that Grady told the police that D/Sgt. Russell was the
one causing a problem. Hasper also told Det. Lunt that Baez stated that she showed the police the
same video footage she had shown to Hasper. Hasper told Det. Lunt that in fact Baez had asked
if Hasper wanted to file an incident report against D/Sgt. Russell, but that Hasper had declined.

  137. Hasper told Det. Lunt that he had spoken with the bank’s security guard, Cameron Grady,
twice—once upon entering the bank to apologize for any commotion Grady may have heard, and
again on his way out to tell Grady that the guy outside was looking for trouble and Hasper
wanted to deescalate any problems by leaving. Hasper told Det. Lunt that on his way out of the
bank, he asked Grady to “watch my back” as he walked toward his car.

  138. Hasper reiterated that D/Sgt. Russell was lying about identifying himself as cop, and was
likewise lying about Hasper’s vehicle striking him. Rhetorically, Hasper asked Det. Lunt the
following: “Listen to what Russell is telling you—it does not make sense. Why would a career
police Lieutenant intentional strike and injure a fellow police officer, and then leave the scene,
over a simple verbal argument? Does that make any sense to you at all?” Hasper asked Det. Lunt
to please double check with his supervisors in the NCPD regarding D/Sgt. Russell’s claimed
account of the incident, because everything that D/Sgt. Russell claimed had happened, was
wrong. Det. Lunt agreed to do that, and advised that he would call Hasper back the following
day.

  139. Following his call with Hasper, Det. Lunt conferred with the other defendants, and
relayed to them what Hasper had told him. Despite Det. Lunt having told Hasper that he would
follow up with him the next day, Defendants all agreed to move forward and have Hasper
arrested that day. They did so despite the fact that they all knew they had no probable cause to
arrest Hasper. Additionally, they all knew that at the very least, given Grady’s account (which
corroborated what Hasper had told Det. Lunt), they had a duty to further investigate prior to
arresting and charging Hasper.

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  140. Defendants, however, were not particularly concerned with the true facts of what had
occurred. Rather, they all agreed upon the following story which they all knew was materially
false—as D/Sgt. Russell was waiting for a parking spot to open up, Hasper started beeping his
horn excessively at him, and was gesturing and cursing at him. Once a spot opened up, D/Sgt.
Russell pulled in, and Hasper then went into the handicap spot. While D/Sgt. Russell was exiting
his car, Hasper continued yelling and cursing at him. D/Sgt. Russell therefore approached
Hasper’s truck, identified himself as a sergeant and displayed his shield, told Hasper that he had
called for a patrol car to respond and investigate, and that Hasper was not free to leave. Hasper
continued cursing at D/Sgt. Russell, and went into the bank. Hasper exited the bank shortly
thereafter and walked to his truck. As he did so, D/Sgt. Russell again identified himself as a
sergeant and told Hasper that he was not free to leave. However, Hasper continued cursing at
him, and entered his truck. D/Sgt. Russell then stood behind Hasper’s truck to prevent him from
leaving, therefore Hasper backed into him and struck him with the truck several times. D/Sgt.
Russell then went to the front of Hasper’s truck to prevent him from leaving and identified
himself as an officer again, and Hasper then struck him several more times and fled the scene.

  141. At 7:07 PM, Hasper received a voice message from Det. Roche, requesting that Hasper
call him on his cell phone at (516) 660-3238, or at the Third Squad at (516) 573-6354. Hasper
called Det. Roche on his cell at 7:24 PM, but reached Det. Roche’s voicemail.

  142. At 7:25, Hasper called the Third Squad, and spoke with Det. Roche for approximately
three minutes. Det. Roche advised Hasper that he was being arrested tonight, and that he must
surrender immediately. Hasper advised Det. Roche about his lengthy conversation with Det.
Lunt regarding the incident, that he did nothing wrong and was innocent of any alleged crimes,
and that Det. Lunt agreed to look into Hasper’s account and determine whether Hasper’s version
could be corroborated, and that Det. Lunt said that he would get back to Hasper the following
day. In response, Det. Roche told Hasper that he was aware of the conversation with Det. Lunt
but that there had been a change in plans and that regarding waiting until the following day to
make a determination, “that is not happening,” and Hasper was being arrested tonight. Hasper
once again professed his innocence, and asked Det. Roche to please reconsider looking into the
underlying facts of the case before making an erroneous decision and arresting a career law
enforcement officer. Hasper asked if he could call Det. Roche back, and Det. Roche agreed.

  143. Based upon Grady’s account (corroborated in part by Baez, and D/Sgt. Russell himself),
Defendants had no probable cause to believe that Hasper committed any crimes that day.
Additionally, Defendants could not rely upon D/Sgt. Russell’s account of the incident to support
probable cause, given that Grady, an unbiased eye-witness deemed inherently credible, created
doubts as to D/Sgt. Russell’s veracity. Furthermore, they knew that their fabricated account of
the incident could not provide probable cause, either. Therefore, and additionally, under the
totality of the circumstances it was unreasonable for Defendants to arrest Hasper prior to further
investigating the matter. Defendants also knew that Hasper was not a flight risk, given that they
knew that Hasper, and his family, were career law enforcement officers and former military, and
long-term residents of Long Island. However, they wanted to arrest Hasper immediately out of
malice, as retribution for pissing off D/Sgt. Russell.




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  144. Knowing they had no probable cause to arrest and criminally charge Hasper, Defendants
did not obtain a warrant for his arrest.

  145. Despite that, Det. Roche, John Doe No. 1, and John Doe No. 2, as well as other police
personnel, went back to Hasper’s home to secure this unlawful arrest.

  146. Between 9:55 PM and 10:02 PM, Hasper’s partner, Lia Todoran, called Hasper several
times to tell him that she became alarmed by noises outside the house, and by what appeared to
be flashlights shining at the windows. Hasper advised her that if anything further develops, to
call him back and/or to call 911.

  147. NCPD personnel then started banging on Hasper and Ms. Todoran’s door, yelling
“Nassau Police! Open up!” Despite Hasper’s cooperation, and despite the fact that Defendants
did not secure a warrant for his arrest, they intentionally made a scene late at night outside his
home, in order to further harass and embarrass him in front of his neighbors. Not wanting to
draw attention by the banging and shouting outside her door, Ms. Todoran then started walking
down the stairs toward the door, stating “Hold on, I will be right there.”

  148. When Ms. Todoran opened the door, Det. Roche, John Doe No. 1, and John Doe No. 2,
pushed their way into the home, without consent, without a warrant, and without the existence of
any exception to the warrant requirement. One of two detectives—Det. Roche or John Doe No.
1—started questioning Ms. Todoran, demanding to know whether Hasper was home—she stated
he was not; demanding to know if she was Hasper’s wife—she stated she was his significant
other; and demanding to know when she last saw or spoke with Hasper—she responded words to
the effect, ‘excuse me, but who are you and what is this all about?’

  149. At this point, the detective who was questioning Ms. Todoran, stated, in a forceful and
intimidating manner, that they were the ones asking questions, not her. Ms. Todoran responded
that they woke her up, she was uncomfortable with them being in her house, Hasper was not
home, she did not believe they were allowed to be there, and she wanted them to leave.

  150. The detective responded, again in a forceful and intimidating manner, that they were not
leaving until Hasper got home, and she must answer their questions. They asked Ms. Todoran if
Hasper had a safe in the house, and whether he had any handguns, rifles, or shotguns. She again
responded that she was not comfortable speaking with them.

  151. While this detective was questioning Ms. Todoran about Hasper’s guns, the other two
defendants were walking around and looking through the adjacent rooms of her home. The
detective continued to press Ms. Todoran about the guns, and as she continued stating that she
was uncomfortable speaking with them, she started backing away from them, into the kitchen.

 152. These defendants then demanded that Ms. Todoran retrieve her cell phone and call
Hasper immediately, in their presence. She protested, however after they reiterated that they
were not leaving until Hasper came home; she finally acquiesced.




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  153. Ms. Todoran called Hasper at 10:25 PM, and told him that the police were in their home.
She then handed the phone to Det. Roche. Det. Roche asked Hasper where he was, and
demanded that Hasper come home immediately. Hasper confronted Det. Roche, and asked if he
“had a warrant,” to which Det. Roche responded, “I don’t need one.” Hasper then told Det.
Roche that he had no right to be in his home unless he had a warrant, and asked him to please
leave. Det. Roche refused to do so, and in a demanding and condescending manner, told Hasper,
“Listen pal, we are standing in your kitchen waiting for you, and we are not leaving until you
come home. We have all night!” Hasper responded by stating that his lawyer, Brian Davis,
would be calling Det. Roche right back on Ms. Todoran’s cell phone, and Hasper then hung up
the phone.

  154. Following Hasper’s earlier conversation with Det. Roche, when he was told that is being
charged and must surrender, Hasper started making calls to retain a criminal defense attorney,
and he ultimately retained Brian J. Davis, Esq. When Ms. Todoran called Hasper at 10:25 PM,
Hasper had been on the other line with Mr. Davis, and when Hasper hung up the phone on Det.
Roche, he switched back to his call with Mr. Davis.

  155. Mr. Davis called Ms. Todoran’s cell phone at 10:28 PM, and spoke with Det. Roche for
approximately four minutes. Ms. Todoran overheard Det. Roche arguing with the attorney on the
other end of the call, in a nasty and arrogant tone, that they weren’t going anywhere until Hasper
returned home.

 156. Knowing that Ms. Todoran’s cell phone was in use at the time, Hasper called Ms.
Todoran on their home phone at approximately 10:31 PM, and he, too, was able to hear Det.
Roche arguing with Mr. Davis.

  157. Mr. Davis then spoke with Hasper again, and following that conversation, at
approximately 10:40 PM, Mr. Davis called Det. Roche back on Ms. Todoran’s cell phone. Mr.
Davis told Det. Roche to get out of Hasper’s home, that Hasper was not surrendering that night,
and Mr. Davis would call them back the next day to arrange a surrender. Finally, and presumably
because these defendants knew their actions were clearly unlawful and unconstitutional and an
attorney was now involved, Det. Roche agreed to leave.

 158. At approximately 10:44 PM, Ms. Todoran called Hasper to let him know that the police
were finally leaving their home.

  159. In total, Det. Roche, John Doe No. 1, and John Doe No. 2, unlawfully entered, and then
unlawfully remained, in the home for at least a half hour. They did so without consent and
despite the express protests of its residents, without a warrant, and without meeting any of the
clearly established exceptions to the warrant requirement under the United States, and New York
State, constitutions and laws. These defendants did so out of malice, and in order to harass and
intimidate Hasper and his family, as retaliation for pissing off D/Sgt. Russell.




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      DEFENDANTS’ CREATION OF ADDITIONAL FABRICATED EVIDENCE
   IN ORDER TO JUSTIFY HASPER’S UNLAWFUL ARREST AND PROSECUTION

  160. At some point on February 15, 2019, prior to and/or after Det. Roche, John Doe No. 1,
and John Doe No. 2, responded to Hasper’s home at about 10:00 PM with the intention of
unlawfully arresting him, all individually-named defendants knew that there was no probable
cause to arrest or charge Hasper. Accordingly, after initially discussing their plan of action while
outside the BFCU, intentionally failing to note the information obtained from Baez and the
security video she showed them, and fabricating the supporting deposition which they had Grady
sign, all individually-named defendants discussed the incident again over, solidified the false
account they were going to spin, and fabricated additional documents and information to support
the false narrative they created.

  161. Defendants wanted to charge Hasper with the most severe charges possible under their
version of the events. After discussing the incident and the potential charges they thought they
could get away with filing, they all agreed to charge Hasper with felony assault on a police
officer—Assault in the Second Degree in violation of New York Penal Law § 120.05(3), a class
D violent felony, and leaving the scene of an incident involving personal injury without reporting
in violation of Vehicle and Traffic Law § 600(2)(a), a class A misdemeanor.

  162. A person is guilty of violating Penal Law § 120.05(3) when, as relevant to this case, he
knows that an individual is a police officer, the police officer is in the process of performing a
lawful duty, the individual acts with the specific intent of preventing this police officer from
performing a lawful duty, and in the course of those action, causes more than a minor injury to
that police officer.

  163. A person is guilty of violating Vehicle and Traffic Law § 600(2)(a) when, as relevant to
this case, he has reason to believe that an individual sustained personal injury due to an incident
involving a motor vehicle which he was operating, and failed to stop and provide certain
personal information.

  164. D/Sgt. Russell and the other defendants all knew that D/Sgt. Russell had not identified
himself as an officer, and that therefore Hasper (nor Grady) knew that D/Sgt. Russell was an
officer. Likewise, they knew that D/Sgt. Russell was not only not engaged in any lawful duty at
the time, but that he was acting irrationally, and was screaming and cursing. They also knew that
Hasper’s truck never struck D/Sgt. Russell, and that D/Sgt. Russell was therefore not injured by
Hasper’s truck. Accordingly, they all agreed to continue creating false evidence to support the
false charges against Hasper.

  165. Defendants fabricated numerous documents, some of which are discussed below, to
ensure that Hasper was unlawfully arrested and prosecuted for crimes and violations they knew
he did not commit. While some defendants may not have physically put pen to paper as to certain
documents which were fabricated, every defendant nonetheless participated in the fabrication, as
they were all aware that documents were fabricated in order to secure Hasper’s unlawful arrest
and prosecution and thereby restrict his liberty, and they all had the opportunity to intervene and
prevent the violation of Hasper’s constitutional rights. However, each individual defendant failed

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to do so, because they all shared a common goal, and were jointly involved in a common
scheme, to ensure that Hasper was unlawfully arrested, prosecuted, and deprived of his liberty.

  166. Each individually-named defendant could have intervened thereby preventing Hasper
from being charged and prosecuted unconstitutionally—they could have exposed the others’
unconstitutional acts or, at the very least, advised the NCDA that the account was fabricated.
They each failed to intervene, despite their ability to do so. They failed to do so because all
individually-named defendants shared a common goal, and were jointly involved in a common
scheme, to ensure that Hasper was falsely arrested and prosecuted.

  167. Lt. Troise completed a New York State Department of Motor Vehicles Police Accident
Report on February 15, 2019, and in it, knowingly recorded false information to address several
elements of the false charges against Hasper—the fact that D/Sgt. Russell was a police officer,
Hasper’s knowledge that D/Sgt. Russell was engaged in a lawful duty, Hasper’s actions to
prevent D/Sgt. Russell from engaging in that lawful duty, injury to D/Sgt. Russell caused by
Hasper’s truck, and Hasper fleeing without stopping to provide the necessary information. Lt.
Troise also omitted references to all true facts which would undermine this false account. She
wrote the following:

                 Pedestrian Russell was on duty as a Detective/Sergeant with the
                 Nassau Police Department and was attempting to take police action
                 against Driver Hasper. Driver Hasper did back his vehicle into
                 Pedestrian Russell. Pedestrian Russell walked to the front of Driver
                 Hasper’s vehicle, at which time Driver Hasper did strike Pedestrian
                 Russell with the front of his vehicle. Driver Hasper then fled the
                 scene.

See Exhibit G.

  168. Plaintiff believes that Lt. Troise’s false Police Accident Report contains the first recorded
reference to the fabricated assertion that D/Sgt. Russell was engaging in a lawful duty—“was
attempting to take police action.” See id.

  169. While Lt. Troise was the one to complete the Police Accident Report, it was completed
based upon the agreed-upon ‘facts’ which Defendants had all determined together, and therefore,
all Defendants participated in creating this false document.

  170. Defendants all ensured that the Police Accident Report was forwarded to the NCDA as
part of the casefile on Hasper. The prosecutor then relied upon the materially-false information
contained therein, and its consistency with Defendants’ overall theory of the incident, and used
that information in prosecuting Hasper.

  171. As noted above, Hasper’s truck never come into contact with either of D/Sgt. Rusell’s
legs or feet, and D/Sgt. Russell was not injured during the incident. In fact, after Hasper left the
parking lot, D/Sgt. Russell is captured on the 7/11 security video sprinting back to his vehicle
and getting in, with no apparent distress. Similarly, Grady later testified that only after police

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personnel responded to the BFCU did D/Sgt. Russell suddenly start limping about and claiming
that his right knee and right foot hurt.

  172. Given D/Sgt. Russell’s (false) claim that he was injured, an ambulance was called to the
scene. D/Sgt. Russell’s chief complaint was that “My knee hurts.” See Exhibit H at 1. The
medical personnel examined him, and found him to be alert and oriented, his vitals were normal,
and critically, there were “no obvious signs of trauma.” See id. At that time, D/Sgt. Russell
refused medical treatment, refused to be taken to the hospital, and signed a Refusal of
Treatment/Transportation Release. See id. at 2.

  173. However, when Defendants discussed which crimes to charge Hasper with, they realized
that in order to substantiate an assault-in-the-second-degree charge in violation of Penal Law §
120.05(3), they would need D/Sgt. Russell to have suffered a “physical injury” as defined by
Penal Law § 10.00(9), meaning “impairment of physical condition or substantial pain,” given
that minor injuries, even if those did occur, did not suffice.

  174. Therefore, as they were discussing the evidence they would need to substantiate the false
charges against Hasper, they agreed that D/Sgt. Russell would go to the hospital and complain of
an injury to his foot, and thereby, create documents to support a Penal Law § 120.05(3) charge.

  175. Less than two months prior to this incident, on December 22, 2018, D/Sgt. Russell fell
off a motorcycle and sustained a displaced fracture to his right foot at the third metatarsal.
Defendants all knew that D/Sgt. Russell had fractured his right foot, that his foot was still in the
process of recovering from that injury, and that his foot would therefore show evidence of an
injury having occurred.

  176. As per the agreement he reached with the other defendants to feign a physical injury to
his foot, D/Sgt. Russell checked into Nassau University Medical Center’s emergency department
on February 16, 2019, at 11:59 AM, and complained of pain to his right knee and foot due to
being struck by a vehicle. D/Sgt. Russell claimed that he reaggravated or refractured his prior
December 22, 2018 fracture. He was discharged a mere one and a half hours later.

  177. Defendants all ensured that D/Sgt. Russell’s medical records were forwarded to the
NCDA as part of the casefile on Hasper. The prosecutor then used D/Sgt. Russell’s medical
records, and the information contained therein, against Hasper to attempt to establish that D/Sgt.
Russell suffered a physical injury on February 15, 2019.

  178. While the other defendants did not physically participate in creating the fabricated
medical records which would later be used against Hasper, they all participated in creating that
false evidence. They all participated in the determination to have D/Sgt. Russell go to the
hospital to report an injury they knew did not exist, and, they all failed to intervene and expose
the truth to prevent Hasper from being falsely arrested and prosecuted, despite their ability to do
so. Defendants did so because they all shared a common goal, and were all jointly involved in a
common scheme, to ensure that Hasper was falsely arrested and prosecuted.




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  179. To Further support the claimed injury, Defendants agreed that D/Sgt. Russell would be
out on sick leave for several days. Toward that end, they had the appropriate forms completed
and filed with the NCPD and the NYS Workers’ Compensation Board, each of which contained
false information asserting that D/Sgt. Russell was injured while acting in the scope of his
official duties, in that while he attempted to detain Hasper, Hasper intentionally struck him and
injured his right foot and knee.

  180. Additionally, in the days following the incident, Defendants participated in preparing
additional fabricated documents which would support, and would not contradict, the false
narrative they had agreed to, particularly regarding D/Sgt. Russell’s feigned injury.

  181. Whenever a NCPD officer is injured, a PDCN 206 packet must be completed, which
details information pertaining to the injury and how it occurred. In addition to form PDCN 206,
itself, several other forms accompany the PDCN 206 packet, depending upon the circumstances
of the injury and how it occurred.

  182. Defendants all knew that these documents would be discoverable in a criminal
prosecution, and indeed, the prosecutor disclosed the PDCN 206 packet in this case as part of the
discovery in Hasper’s criminal prosecution. Defendants all knew that in order not to undermine
the false charges against Hasper, the information contained in the PDCN 206 packet would have
to mirror the false allegations they had come up with.

  183. Accordingly, they ensured that the PDCN 206 packet contained that fabricated
information. For example, it stated that “Sgt. Russell, while attempting to detain defendant to
issue VTL summons’ [sic] was intentionally struck by defendant’s vehicle. Defendant did flee
the scene in his vehicle.” It also stated, in several locations, that D/Sgt. Russell sustained pain to
his right foot and knee. It further stated that D/Sgt. Russell was acting within the scope of his
official duties at the time, used all available safety equipment, and that he did not violate any
NCPD rules.

  184. One of the forms which must be submitted in conjunction with the PDCN 206 packet, is
form PDCN 206A, an Incident/Accident Statement which contains a narrative of the incident,
signed by the injured officer. Defendants participated in preparing a false narrative for D/Sgt.
Russell’s signature, despite knowing that the information contained therein was fabricated. The
Incident/Accident Statement indicates that the statement therein was prepared on February 18,
2019, and it contains, in greater detail, the fabricated account which Defendants had come up
with. See Exhibit I. D/Sgt. Russell ultimately signed another copy of this false statement which
detailed how his ‘injury’ occurred, this time without it being contained in form PDCN 206A, and
dated it April 17, 2019, see Exhibit J, and it, too, was submitted to the NCDA.

  185. However, Dr. George Ackerman, M.D., D/Sgt. Russell’s treating orthopedic, ultimately
admitted on cross-examination during Hasper’s subsequent criminal trial, that there was no
objective medical evidence to support a finding that D/Sgt. Russell had sustained a physical
injury on February 15, 2019. D/Sgt. Russell’s foot had been x-rayed on February 11, 2019 due to
his December 2018 injury, four days prior to this incident, and it was x-rayed again on February



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20, 2019, five days after this incident. Dr. Ackerman acknowledged that the x-rays were
identical, and that “[f]rom a radiographic standpoint,” that would “militate against a refracture.”

  186. Hasper also called a medical expert to testify at his criminal trial—Dr. John P. Reilly,
M.D. Dr. Reilly likewise testified that D/Sgt. Russell did not suffer a physical injury during the
incident with Hasper on February 15, 2019.

 187. Defendants also wanted to tighten up their theory as to the claimed ‘lawful duty’ D/Sgt.
Russell was engaged in, and they amended their theory on this element several times.

  188. Initially, they claimed that D/Sgt. Russell had told Hasper he was not free to leave
because he, D/Sgt. Russell, was calling a patrol car to ‘investigate’ Hasper. They claimed that
D/Sgt. Russell made that statement to Hasper before Hasper allegedly backed up and struck
D/Sgt. Russell. Realizing that this theory was, at best, a stretch, Defendants changed their story
to something a bit more straightforward, and decided that the ‘lawful duty’ D/Sgt. Russell was
engaged in, was attempting to issue traffic summonses to Hasper for Vehicle and Traffic Law
violations which D/Sgt. Russell supposedly observed Hasper commit.

  189. To support that new, and false, narrative, Defendants all agreed that D/Sgt. Russell would
complete traffic summonses. Toward that end, D/Sgt. Russell completed three traffic
summonses, falsely alleging that Hasper obstructed his rear license place in violation of VTL §
402(1)(b), used his horn excessively in violation of VTL § 375(1)(a), and made an unsafe left
turn in violation of VTL § 1163(a). See Exhibit K. Of course, D/Sgt. Russell, as well as the other
defendants, knew that Hasper did not commit any of those violations, and that the charges were
fabricated.

  190. While the traffic summonses are dated February 15, 2019, Plaintiff has reason to believe
that they were in fact prepared at a later date but that the tickets were backdated, in itself a
fabrication, to support the false claim that D/Sgt. Russell communicated to Hasper, on February
15, 2019, that a patrol car was on the way to issue him those tickets.

  191. At approximately 7:39 PM, a mere 11 minutes after Det. Roche initially directed Hasper
to surrender but Hasper refused. Det. Roche, in consultation with the other defendants, issued a
false alarm to have Hasper and his truck unconstitutionally seized. They did so given that Hasper
advised he would not be voluntarily surrendering at that time, and Defendants knew they had no
legal basis to obtain a search warrant for the truck. Accordingly, they acted out of malice, and
issued the false alarm to knowingly circumvent the warrant requirement.

  192. The false alarm itself was issued by Det. Roche, however, he did so in conjunction with
Det. Lunt, who documented the fact the alarm was issued in his memo book. To the extent that
any defendant did not personally participate in the decision to issue the false alarm, they were all
aware that Det. Roche had issued it. Accordingly, they should have, but failed to, act to withdraw
or modify it so that Hasper’s constitutional rights were not violated. They did not so however,
because they all shared a common goal, and were jointly involved in a common scheme, to
ensure that Hasper’s person and property were unlawfully seized and searched.



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 193. The false alarm stated, in part, the following:

               FELONY VEHICLE - OCCUPANT(S) ARMED/HOLD FOR
               LATENTS
               OPERATOR WILLIAM HASPER DOB 11/03/1966 WANTED
               BY 3RD SQUAD . . . FOR ASSAULT ON PO BY MV HOLD MV
               FOR PRINTS AND EVIDENCE

               ...

               Vehicle used in the commission of a crime; Occupant(s) armed
               and/or dangerous; preserve for prints

See Exhibit L. The false alarm also stated that the truck was stolen: “Date of Theft (DOT):
02/15/2019.” See id.

  194. Defendants all knew that this alarm was false. They all knew that Hasper was neither
armed nor dangerous. In fact, Det. Lunt had confirmed to Hasper during their earlier
approximately-22-minute conversation, that they all knew Hasper was a retired Lieutenant from
the SCPD and a Nassau County resident, and that according to the bank employees and security
video which some of the defendants had viewed, Hasper was calm and rational while at the bank.
Det. Lunt had even agreed to follow up with Hasper the following day (or, so he lead Hasper to
believe at the time), which is directly contrary to the spirit and content of the alarm which
claimed that Hasper was a fugitive, was armed and dangerous, and that his vehicle was used in
the commission of a violent crime against a police officer. Additionally, Defendants all knew
that Hasper owned the truck, and that it was registered to him. Indeed, they had initially
identified Hasper, in part, by running the license plate information off the truck which D/Sgt.
Russell had provided to them from the parking lot.

  195. Defendants all knew that the false alarm would result in Hasper’s person and property
being seized unconstitutionally—precisely the reason they disseminated it, to harass and intimate
Hasper and to ensure that his person and property were unlawfully seized and searched, as
retaliation for the verbal altercation he had with D/Sgt. Russell.

  196. Based upon their training and experience, Defendants all knew that the false alarm would
result in a felony car stop with Hasper held at gunpoint, that all occupants would be physically
removed from the vehicle, and that they would all be handcuffed and searched.

  197. On Saturday morning, February 16, 2019, Hasper retained Sapone & Petrillo, LLP, to
represent him. Thereafter, William Petrillo, Esq., spoke with Det. Lunt about the case, and Det.
Lunt agreed that the investigation would continue prior to the defendants requiring Hasper to
surrender.

  198. Later that same day, after D/Sgt. Russell had already gone to the emergency room to
continue feigning an injury to his foot, Det. Lunt, Det. Vacchiano, Det. Purcell, and Det.
Panuthos went back to parking lot where the incident had occurred, to canvass the area for

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exterior video cameras. Of the four locations they visited, they located two cameras—a 7/11
located at 760 Old Country Road, just east of the BFCU, captured the events that took place in
the BFCU parking lot in the top right corner of the camera’s view, see Exhibit C, and the
Laundry Stadium located at 751 Old Country Road, across the street from BFCU, caught some
of the events on video. See Exhibit D.

  199. Det. Lunt, Det. Vacchiano, Det. Purcell, and Det. Panuthos viewed the video footage,
which provided conclusive unbiased evidence directly refuting D/Sgt. Russell’s version of the
events, or, the version of events which Defendants attributed to D/Sgt. Russell—the basis of the
felony assault on a police officer charge in violation of Penal Law §120.05(3), and the leaving
the scene of an incident involving personal injury charge in violation of VTL § 600.2A.
Additionally, these videos corroborated both Grady and Hasper’s account of the incident.


              HASPER’S SURRENDER ON SUNDAY, FEBRUARY 17, 2019

  200. Despite the video evidence, at approximately 3:28 PM, Det. Lunt contacted Mr. Petrillo,
and advised him that they were moving forward with Hasper’s arrest. Defendants all agreed to
have Hasper arrested and prosecuted despite the fact that they knew he did not commit any
crime. Mr. Petrillo agreed to arrange Hasper’s surrender for the following day, Sunday, February
17, 2019, at 9 PM.

  201. On Sunday, prior to Hasper’s surrender, Det. Lunt contacted Edward Sapone, Esq., and
asked him to voluntarily surrender Hasper’s truck, stating that they wanted to examine it for
evidence. Det. Lunt told Mr. Sapone that if the truck was clean, it would help, not hurt, Hasper.
Mr. Sapone specifically denied Det. Lunt’s request, and advised him that it would not be
surrendered without a warrant. Mr. Sapone however told Det. Lunt that if a warrant was secured,
to simply call him, and he would arrange to produce the truck.

 202. Defendants never obtained a warrant to seize and/or search the truck.

  203. From when the arrangement was made to have Hasper surrender, until shortly before his
surrender the following day, Defendants discussed the incident again, and ensured that all
fabricated documents necessary to support the false charges were properly prepared.

  204. In addition to the fabricated traffic summonses which D/Sgt. Russell had prepared, Det.
Lunt completed an additional summons falsely charging Hasper with leaving the scene of an
incident involving physical injury in violation of VTL § 600(2)(a), a class A misdemeanor. See
Exhibit K at 2. At this time on February 17, 2019, there was no doubt in any defendant’s mind
that D/Sgt. Russell did not sustain an injury during his encounter with Hasper on February 15,
2019.

  205. At 9:00 PM on February 17, 2019, Hasper surrendered at the Third Precinct, and he was
placed under arrest.




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  206. Defendants, of course, intended to confine Hasper, and Hasper was very conscious of the
confinement. Additionally, Hasper did not consent to the confinement. While Defendants did not
have a legal basis upon which to arrest Hasper, he had only surrendered in an attempt to mitigate
the injuries to him, particularly the additional humiliation he would have suffered if he were to
be publicly arrested and handcuffed.

  207. While he was processed, Det. Lunt commented to Hasper that he, Hasper, “fucked with
one of ours. Did you know that he [D/Sgt. Russell] worked in this precinct for 10 years?”

  208. Despite the complete absence of probable cause, Hasper was formally charged in a
Felony Complaint bearing Arrest Number 2019NA005138, with the following crimes and
violations:

          i.     Count 1: Assault in the Second Degree; Causing physical injury to a police officer
                 while acting with the intent to prevent a police officer from performing a lawful
                 duty, in violation of Penal Law § 120.05(3), a class D violent felony;

         ii.     Count 2: Leaving the scene of an incident involving personal injury, in violation
                 of Vehicle and Traffic Law § 600(2)(a), a class A misdemeanor;

        iii.     Count 3: Unsafe left turn/failure to signal, in violation of Vehicle and Traffic Law
                 § 1163(a), a violation;

        iv.      Count 4: Covered or distorted license plate, in violation of Vehicle and Traffic
                 Law § 402(1)(b), a violation;

         v.      Count 5: Equipment—inadequate brakes, steering, or horn, in violation of Vehicle
                 and Traffic Law § 375(1)(a), a violation.

See Exhibit M.

  209. In the “To Wit” section, the Felony Complaint stated the false factual basis which
Defendants had come up with to support the false charges. It also listed the ‘sources’ of this false
information—Det. Lunt’s investigation, D/Sgt. Russell’s statements, the Supporting Deposition
of Grady, the “witness,” and the 7/11 surveillance video; the only video which clearly depicted
the incident in the parking lot. See id.

  210. Defendants charged Hasper despite the fact that they knew there was no probable cause
or reasonable suspicion to believe he committed these crimes and violations, and despite the fact
that there existed substantial credible and uncontradicted evidence that he did not commit the
charged crimes.

  211. While the Felony Complaint was prepared for Det. Lunt’s signature, D/Sgt. Russell, Det.
Vacchiano, Det. Roche, Det. Purcell, Det. Panuthos, D/Sgt. Hussain, and Lt. Troise all agreed
upon its content and participated in preparing the false narrative, and thereby, knowingly
participated in the filing of those false charges. Additionally, D/Sgt. Russell, Det. Vacchiano,

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Det. Roche, Det. Purcell, Det. Panuthos, D/Sgt. Hussain, and Lt. Troise permitted these false
charges to be filed despite the fact that they all knew the charges were fabricated, and despite the
fact that any one of them could have spoken up and intervened, and prevented Hasper from being
wrongfully arrested and charged for crimes they each knew he did not commit.

  212. Despite knowing that the contents of the “To Wit” clause in the Felony Complaint were
materially false, Det. Lunt swore to the truth of the statements contained therein, under penalty
of perjury.

  213. As to the other individually-named defendants, they all knew that the allegations and
‘evidence’ noted in the Felony Complaint were false, and that Hasper was being charged, and
thereby prosecuted, unconstitutionally. Each individually-named defendant could have
intervened thereby preventing Hasper from being charged and prosecuted unconstitutionally—
they could have exposed the others’ unconstitutional acts or, at the very least, advised the NCDA
that the account was fabricated. They each failed to intervene, despite their ability to do so. They
failed to do so because all individually-named defendants shared a common goal, and were
jointly involved in a common scheme, to ensure that Hasper was falsely arrested and prosecuted.

  214. After Hasper was processed, Defendants all ensured that all the fabricated evidence was
forwarded to the NCDA, including Grady’s Supporting Deposition, the Police Accident Report,
D/Sgt. Russell’s medical records, all four traffic summonses, and the Felony Complaint, as well
as additional notes they recorded of their ‘investigation’ such as Det. Lunt’s DD Narrative, and
various memo book pages where they recorded false information to support Hasper’s unlawful
prosecution. They did so knowing that these fabricated documents contained materially-false
information which was necessary to support the prosecution against Hasper, and that without
them, the NCDA would not have probable cause sufficient to continue prosecuting Hasper.

  215. Of course, the fabricated documents could not provide probable cause to prosecute.
However, Defendants did not advise the NCDA that the documents were fabricated, and Hasper
was prosecuted without probable cause to believe that a criminal prosecution, absent fabricated
information, would be successful.

  216. Hasper was held in custody at the NCPD Third Precinct overnight, until he was
transported the following day to NCPD headquarters.


            HASPER’S ARRAIGNMENT ON MONDAY, FEBRUARY 18, 2019

 217. Having Hasper prosecuted for crimes he did not commit, was not enough for Defendants.
They ensured that he was mistreated as much as possible, to intentionally cause Hasper great
mental and emotional anxiety.

  218. For example, while police personnel who are under arrest are segregated from the general
population of arrestees to ensure their safety, Hasper was transported the following morning
from NCPD Headquarters to the Nassau County First District Court to be arraigned, in a prisoner
van with the general population. During the transport, one member of the NCPD, a middle-aged

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white male whose identity Plaintiff does not yet know, intentionally disclosed to the general
population of arrestees that Hasper was a police officer, despite the obvious inherent danger to
Hasper which that disclosure created. This caused Hasper extreme emotional distress as he
feared for his physical safety.

  219. After arriving at the courthouse, for safety reasons, Hasper requested to be segregated
from the other prisoners. However, another member of the NCPD whose identity Plaintiff does
not yet know, told Hasper that because he “fucked with one of ours, you get no favors.” This
continued to cause Hasper great emotional distress, as he continued fearing for his safety.

  220. After this officer transferred Hasper to the custody of the Nassau County Sheriff’s
Department, Hasper immediately requested to be segregated. That request was granted, as it is
customary to segregate law enforcement personnel for safety concerns. However within five
minutes, the Deputy Sheriff whom Hasper had spoken with reappeared, and apologized to
Hasper, stating, in sum and substance, “I’m sorry, but apparently you pissed off the wrong
people.” He continued, stating to Hasper that the NCPD insisted that Hasper go into general
population, and that the Sheriff’s Department disclose the fact that Hasper is a former cop. The
Deputy Sheriff also told Hasper, in sum and substance, ‘I’m really sorry, but you should also
know that the Nassau County PD controls the order of arraignments, and you’re going to be
called dead last.’

  221. Hasper was then placed in a large open holding cell with approximately 30 other inmates,
several of whom were gang members affiliated with MS-13 and the Latin Kings. Defendants
knew, or should have known, that Hasper spent his career locking up gang members affiliated
with those gangs. Defendants acted outrageously, intentionally, and maliciously, in order to
cause Hasper additional stress, anxiety, and mental anguish.

  222. True to their word, and despite the fact that Hasper had surrendered himself the prior
evening to facilitate the booking and arraignment process, Defendants ensured that Hasper was
the last arrestee to be arraignment that Monday in Nassau County First District Court.

  223. Further reflecting their malice, Defendants requested that the NCDA seek substantial bail
at Hasper’s arraignment. The prosecutor, at Defendants’ behest, vehemently argued that $50,000
bail be set, for a West Point graduate, disabled Combat Veteran, retired SCPD Lieutenant, who
was a long-time resident of Long Island, with no prior criminal record, and incredibly strong
community ties. Bail was set in the sum of five-thousand dollars cash over ten-thousand dollars
bond ($5,000/$10,000), which Hasper’s father posted later that day. As a result, Hasper’s
liberties were restrict, and he was immediately forced to surrender his firearms.


       DEFENDANTS’ MEDIA BLITZ TO DESTROY HASPER’S REPUTATION

  224. Further reflecting their malice, following Hasper’s arraignment Defendants notified
various news outlets of Hasper’s arrest. However, Defendants intentionally refused to release the
exculpatory 7/11 video to the media, which would have cleared Hasper of the charged crimes
and violations. Critically, as noted, the 7/11 video proves that Hasper did not intentionally strike

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D/Sgt. Russell with his truck on multiple occasions as alleged, and that D/Sgt. Russell was not
injured. Rather, Defendants only released the NCPD paperwork containing their fabricated
account of the incident.

  225. By February 21, 2019, virtually every major news outlet in the Tristate region published
Defendants’ fabricated account of the incident in the BFCU parking lot. Those news outlets
include, but are not limited to, NBC, ABC, CBS, and News 12 Long Island. In fact, News 12
Long Island ran a two-minute and twenty-nine-second “exclusive” story on a 15-minute loop, for
48 hours straight. Defendants’ false account of Hasper’s actions was also published in
newspapers, and talked about over the radio. In addition, News 12 also reported the story from
the front steps of Hasper’s home, humiliating him in front of his neighbors even more.
Defendants’ account of the incident was also published online. The following are just some, but
not all, of the links to the online articles: https://www.nbcnewyork.com/news/local/retired-
suffolk-lieutenant-accused-of-hit-and-run-involving-nassau-cop/41774/; https://abc7ny.com/hit-
and-run-suffolk-county-police-lieutenant-william-hasper-nassau/5150252/;
https://wcbs880.radio.com/articles/retired-long-island-lt-william-hasper-accused-hitting-nassau-
sergeant-car; http://longisland.news12.com/story/40003071/police-retired-suffolk-lieutenant-hit-
nassau-officer-with-car-fled; https://www.facebook.com/EileenLehpamer12/posts/exclusive-
retired-suffolk-police-lt-william-hasper-arrested-and-charged-with-ass/1566685110141710/;
https://www.newsday.com/long-island/suffolk/william-hasper-suffolk-police-1.18486704;
https://patch.com/new-york/eastmeadow/retired-suffolk-officer-hit-nassau-officer-his-car-report
Of course, these internet links will remain in place indefinitely, continuing to cause Hasper great
harm.

  226. These false allegations against Hasper and his arrest reached hundreds of thousands, if
not millions, of homes in the Tristate area.

  227. These false allegations were also circulated in Facebook communities which Hasper was
proudly associated with. For example, Hasper’s mugshot, along with an article published on
Patch.com titled “Retired Suffolk Officer Hit Nassau Officer With His Car: Report,” was posted
to the Facebook group Suffolk County Police Department Friends. Hasper became the target of
nasty and vile comments and ridicule, such as “Check his car for Gilgo DNA,” which referred to
the Gilgo Beach killings discovered in 2010. The story also circulated on Hasper’s high school
Facebook page, which resulted in Defendants’ false story being dissemination nationwide.

 228. Unfortunately, wherever Hasper went locally—the Deer Park Fire House, Knights of
Columbus, American Legion, VFW (Veterans of Foreign Wars), Lions Club, and so forth—the
majority of the membership was aware of Defendants’ false story, which publicly humiliated
Hasper even more.


      HASPER’S UNLAWFUL DETAINMENT AND THE UNLAWFUL SEIZURE
            OF HIS VEHICLE DUE TO THE FABRICATED ALARM

 229. Despite Mr. Sapone’s invitation for Det. Lunt to obtain a warrant in order to seize
Hasper’s truck, Defendants did not apply for one—presumably because they knew they did not

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have probable cause to support a warrant application. However, because Hasper’s defense
attorneys refused to consent to the surrender of the truck, Defendants intentionally did not
withdraw the false alarm they had issued on February 15, 2019, as they hoped the false alarm
would allow them to circumvent the warrant requirement and thereby seize the truck.

  230. 22 days later, at approximately 6:35 PM on Saturday, March 9, 2019, Hasper was
lawfully and peacefully operating his pickup truck at the intersection of Carlls Path and Long
Island Avenue, in Deer Park, Suffolk County, New York.

  231. At that time, SCPD PO Keith G. Picconi, Shield # 6535, and PO John N. Caraccia, Shield
# 6833, were driving RMP Unit 102. Based upon the false alarm which stated that the truck was
stolen, that it should be held for evidence, and that the operator was wanted by the police, and
was armed and/or dangerous, the SCPD Police Officers stopped Hasper at gun point, at the
intersection of Carlls Path and Long Island Avenue. They were accompanied by SCPD PO
Anton E. Fanelli, Shield #6842, and PO Christopher Alberto, Shield #6627, who were driving
RMP Unit 105, and SCPD PO Robert Mroczkowski, who was driving RMP Unit 103.

  232. PO Picconi immediately positioned himself 10 feet from Hasper’s driver’s side window,
in a bladed stance, and with his gun pointed at Hasper’s head, repeatedly screaming the
following orders: “Police. Don’t move!” and “Show me your hands!”

  233. Hasper followed PO Picconi’s commands, as PO Picconi steadily advanced toward
Hasper with his gun still aimed at Hasper’s head. As PO Picconi approached, Hasper identified
himself, and stated words to the effect of “calm down, I am a retired Suffolk County Lieutenant
out of the First Precinct. I am unarmed, and I will fully comply.”

  234. PO Picconi continued screaming at Hasper, and then repeatedly yelled “Who reported the
vehicle stolen?!”

  235. Still holding Hasper at gunpoint, PO Picconi ordered him to get out of the truck and onto
the ground, and threated to shoot Hasper if he did not comply. Hasper complied. As he lay prone
on the ground, he was handcuffed. Thereafter, he was patted down, and then held against his
will, while handcuffed, for over one hour, in the backseat of PO Picconi’s patrol car.

  236. In addition to the units that had been at the scene initially as noted, PO Picconi called for
backup and a patrol supervisor. Ultimately, approximately 15 units responded to the scene,
including the following supervisors: Squad Lieutenant Joseph M. Zurl, RMP Unit 141, Patrol
Sergeant Michael Mortilla, RMP Unit 136, and Patrol Sergeant Eric R. Guiterman, RMP Unit
135.

  237. This heavy response, and Hasper being held and threatened at gunpoint, was not only
foreseeable by Defendants when they issued the false alarm and then intentionally failed to
withdraw it, but, based upon the nature of the alarm, it was also an intended result thereof.

  238. While in the backseat of the squad car, Hasper explained who he was, that he was the
registered owner of the truck, and that it had never been stolen or reported stolen. The SCPD

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personnel were quickly able to corroborate Hasper’s claims through the Department of Motor
Vehicles, and the documents within Hasper’s truck.

  239. Hasper asked what this was all about. In response, PO Picconi advised Hasper that his
plate reader hit which resulted in the stop, and that thereafter, an alert was broadcast over the
precinct radio which resulted in the massive police response. PO Picconi showed Hasper the
alarm issued by NCPD on the computer screen inside his RMP, as well as a photograph of his
license plate.

  240. SCPD supervisors who arrived at the scene spoke to PO Picconi. Thereafter, PO Picconi
told Hasper that his supervisors would contact their counterparts at the NCPD Third Squad,
which was the source of the alarm.

  241. SCPD Sgt. Mortilla contacted D/Sgt. Hussain at the Third Squad. D/Sgt, Hussain of
course knew that Hasper’s truck was not stolen, and was fully aware that the alarm was
fabricated, and that Hasper had already surrendered and was already arraigned. Despite that,
D/Sgt. Hussain directed SCPD Sgt. Mortilla to detain Hasper and his truck.

 242. Thereafter, SCPD supervisors told Hasper that they had contacted the NCPD Third
Squad, and that the NCPD was coming to seize his vehicle. Hasper was advised that according to
NCPD directives, he could not enter his vehicle to retrieve any property located therein.

  243. Hasper asked to see a warrant, or some other lawful judicial Order authorizing the seizure
of his vehicle, but he was ignored.

  244. Subsequently, a NCPD Emergency Service Unit vehicle arrived, and an officer whose
identity is not yet known to Plaintiff exited that vehicle, got in Hasper’s truck, and drove it away.
In addition to the unlawful seizure of the truck, the NCPD officer violated proper rules and
procedure by not conducting a vehicle inventory at the scene, and by not having the truck towed
away on a flatbed or tow truck. He did so based upon Defendants’ directives, and without
consent, without a warrant, and without the existence of any exception to the warrant
requirement, in blatant violation of Hasper’s clearly-established constitutional rights. The seizure
was also done in blatant violation of the NCPD’s impound rules and procedures, and for obvious
reasons, eviscerated the alleged evidentiary value, and the claimed reason it was seized for in the
first instance.

  245. In short, Hasper was stopped, seized, searched, and held against his will while
handcuffed for over one hour. Additionally, his property was seized and searched, without his
consent or judicial approval.

  246. Defendants unlawfully retained possession of Hasper’s truck, and searched it thoroughly.
Despite Hasper’s defense attorney’s repeated demands for its return, and for an explanation as to
their legal basis for seizing and searching it, Defendants did not return it for 10 days, and never
provided explained their claimed legal basis for seizing or searching it. While Defendants did
finally return the truck 10 days later, to date they did not return numerous personal items which
Hasper had kept in it.

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  247. Despite Hasper being unlawfully stopped, at gunpoint, on March 9, 2019, and despite the
fact that Defendants had unlawfully seized Hasper’s vehicle, they nonetheless failed to terminate
the false alarm. They did not do so intentionally, so as to continue to harass Hasper and violate
his rights, in further relationship for ‘messing with one of their own.’

 248. As a result, on Monday, May 6, 2019, 80 days after the false alarm was issued, Hasper
was once again stopped due to the false alarm.

  249. Hasper was driving NCPD Lt. Carmine Soldano, who has Nasal Pharyngeal Cancer
related to 9/11/2001, and his wife Susan, for his follow-up appointment at Lenox Hill Hospital in
Manhattan, following Lt. Soldano’s cancer surgery. HASPER routinely drove the Soldano’s to
Lenox Hill Hospital, to assist his ill friend and provide them with moral support.

  250. At approximately 1:55 PM, Hasper was driving southbound on the Cross Island Parkway,
approximately two miles north of Northern Boulevard, in Bayside, Queens, when he was stopped
by New York State Trooper M. Guadalupe, Bronx Barracks, Shield #1244, who was driving Unit
3M61. Lt. Soldano was in the front passenger seat, and his wife Susan was in the rear passenger
seat.

  251. Trooper Guadalupe cautiously approached the truck, with his hand on his gun, and asked
“Are you William Hasper? Did you have a problem in Nassau County?” After extremely tense
introductions, Hasper produced his license and registration, upon request. Trooper Guadalupe
told Hasper that he could not leave the scene, and that the alarm issued by the NCPD directed
that the truck be seized for evidence.

  252. Trooper Guadalupe advised Hasper that he was being detained due to an alarm out of the
NCPD Third Squad. After approximately 45 minutes, Trooper Guadalupe advised Hasper that he
was free to leave. He told Hasper that if not for his buddy, Lt. Soldano, being in the car with him,
he would have arrested Hasper.

  253. Defendants only cancelled the false alarm after Hasper was stopped and detained for the
second time on May 6, 2019. See Exhibit N.

  254. While Defendants did not personally seize or detain Hasper on March 9 and May 6, 2019,
Hasper was unlawfully seized and searched, and his property was confiscated, as a direct result
of Defendants’ actions. They knowingly fabricated the alarm with the specific goal of achieving
this unconstitutional consequence, and their conduct directly resulted in the violation of Hasper’s
rights.


                  HASPER’S INDICTMENT AND SUBSEQUENT TRIAL

  255. Following Hasper’s arrest, the case was assigned to ADA Christopher Mango, and
Defendants ensured that all the fabricated documents and evidence referenced above, were
forwarded to Mr. Mango for his use during Hasper’s prosecution.



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  256. Mr. Mango reviewed the documents not knowing that they were in fact fabricated. Given
that the fabricated documents, particularly Grady’s unbiased account of the incident as reflected
in his Supporting Deposition, corroborated D/Sgt. Russell’s version of the events and ‘proved’
that Hasper intentionally struck D/Sgt. Russell, the decision was made for Mr. Mango to present
the case before a grand jury.

  257. D/Sgt. Russell testified before the grand jury on April 30, 2019, and lied about the
material facts which occurred on February 15, 2019 at the BFCU. While Mr. Mango played
portions of the 7/11 video before the grand jury, the video had no audio, and therefore, D/Sgt.
Russell was asked to fill in the blanks as to what was said. As the 7/11 video was played before
the grand jury, D/Sgt. Russell lied about what both he and Hasper had said at the time, consistent
with Defendants’ fabricated account of the incident, and directly contrary to the true facts. He
testified that Hasper was screaming, waiving with his hands, and shouting vulgar statements at
him, that he identified himself to Hasper as an on-duty Sergeant with the NCPD and told Hasper
he was not free to leave, that Hasper ignored his orders and intentionally struck him as Hasper
fled the parking lot, which caused D/Sgt. Russell to sustain a physical injury.

  258. On May 2, 2019, D/Sgt. Russell was recalled to the grand jury due to technical
difficulties with the video evidence on April 30, 2019. Once again, portions of the 7/11 video
were played, and D/Sgt. Russell was asked to describe what was being said and done at each
segment. D/Sgt. Russell continued lying before the grand jury as to what both he and Hasper had
said and done, consistent with Defendants’ fabricated account of the incident, and directly
contrary to the true facts.

  259. On May 2, 2019, Det. Lunt also testified before the grand jury. However, Det. Lunt was
not asked about the ‘investigation’ into the incident, but only about Hasper’s arrest at the Third
Precinct on February 17, 2019.

  260. Upon information and belief, no other witness was called to testify before the grand
jury—including Grady, whose account of the incident would have demonstrated that Hasper did
not commit any crime.

  261. In addition to the two crimes and three violations which Defendants had charged Hasper
with, based upon the fabricated documents which Defendants created and forwarded to the
NCDA, Mr. Mango presented additional charges to the grand jury for its consideration; (1)
Assault in the Third Degree; Causing injury to another with the intent to do so, in violation of
Penal Law § 120.00(1), a class A misdemeanor, and (2) Reckless Endangerment in the Second
Degree; Recklessly engages in conduct which created a substantial risk of serious physical injury
to another, in violation of Penal Law §120.20, a class A misdemeanor.

  262. While these two charges were not personally filed by Defendants, but were added by the
NCDA, the NCDA only did so based upon the fabricated evidence which Defendants submitted,
including Grady’s Supporting Deposition, the Police Accident Report, D/Sgt. Russell’s medical
records, all four traffic summonses, the Felony Complaint, the PDCN 206 Packet, D/Sgt.
Russell’s statement dated April 17, 2019, as well as additional notes Defendants recorded of their



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‘investigation’ such as Det. Lunt’s DD Narrative, and various memo book pages where they
recorded false information to support Hasper’s unlawful prosecution.

  263. On May 9, 2019, Hasper was indicted on the following crimes and violations, under
Indictment No. 778N-19:

          i.     Count 1: Assault in the Second Degree; Causing physical injury to a police officer
                 while acting with the intent to prevent a police officer from performing a lawful
                 duty, in violation of Penal Law § 120.05(3), a class D violent felony;

         ii.     Count 2: Assault in the Third Degree; Causing injury to another with the intent to
                 do so, in violation of Penal Law § 120.00(1), a class A misdemeanor;

        iii.     Count 3: Reckless Endangerment in the Second Degree; Recklessly engages in
                 conduct which created a substantial risk of serious physical injury to another, in
                 violation of Penal Law §120.20, a class A misdemeanor;

        iv.      Count 4: Leaving the scene of an incident involving personal injury, in violation
                 of Vehicle and Traffic Law § 600(2)(a), a class A misdemeanor;

         v.      Count 5: Unsafe left turn/failure to signal, in violation of Vehicle and Traffic Law
                 § 1163(a), a violation;

        vi.      Count 6: Covered or distorted license plate, in violation of Vehicle and Traffic
                 Law § 402(1)(b), a violation;

        vii.     Count 7: Equipment—inadequate brakes, steering, or horn, in violation of Vehicle
                 and Traffic Law § 375(1)(a), a violation.

See Exhibit O.

  264. However, given the fabricated documents and information which was submitted to the
NCDA prior to the grand jury presentation, and the fabricated information testified to during the
presentation itself, Hasper’s indictment was achieved through misconduct undertaken in bad
faith, fraud, perjury, misrepresentation and falsification of evidence, and the failure to make a
full and complete statement of facts to the grand jurors.

 265. Hasper was arraigned on the Indictment on May 20, 2019, in AP1, before the Honorable
Meryl J. Berkowitz.

  266. One of the roles of the AP1 Judge is to assess cases, and dispose of those which are
legally insufficient, weak, ripe for disposition, and so forth. Additionally, Judge Berkowitz
would routinely make notes on files containing her assessment of a case, prior to the case being
sent to another judge. After reviewing the 7/11 video and the paperwork related to Hasper’s case,
Judge Berkowitz wrote a note on Hasper’s file, which stated, in sum and substance, that ‘this



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case is entirely nonsense.’ She orally communicated her thoughts on the case to both Hasper’s
counsel, and ADA Mango.

 267. At arraignment, Judge Berkowitz released Hasper on his own recognizance.

 268. Following arraignment, Hasper’s case was assigned to the Honorable Christopher G.
Quinn.

 269. Discovery was exchanged, and the matter was certified trial-ready on January 3, 2020.

  270. In addition to Hasper’s arraignments on February 18 and May 20, 2019, he was
compelled to make numerous court appearances to defend against the false charges, including
February 28, 2019, June 20, 2019, July 29, 2019, August 21, 2019, September 25, 2019,
November 13, 2019, November 14, 2019, December 3, 2019, January 3, 2020, January 31, 2020,
February 3, 2020, February 4, 2020, and February 5, 2020. Being required to appear in court to
this extent further deprived Hasper of his liberty.

  271. The case against Hasper was tried without a jury. It began on January 31, 2020, and
continued on February 3, 4, and 5, 2020.

  272. The prosecution called three witnesses—D/Sgt. Russell, Det. Lunt, and Dr. George
Akerman, D/Sgt. Russell’s personal physician. D/Sgt. Russell and Det. Lunt testified falsely
concerning the events of February 15, 2019, consistent with the fabricated account of the
incident they had agreed upon almost one year prior. Dr. Ackerman testified as to D/Sgt.
Russell’s claimed injury based upon D/Sgt. Russell’s subjective statements thereto, and the
medical records and x-rays.

 273. The defense called Baez, Grady, Warner Frey, a police practices expert, Dr. John Reilly,
M.D., a medical expert, Connor McCourt, a video expert, and several character witnesses.

 274. On February 5, 2020, Judge Quinn rendered the following verdict:

          i.   Count 1: PL § 120.05(3), a class D violent felony; Not Guilty

         ii.   Count 2: PL § 120.00(1), a class A misdemeanor; Not Guilty

        iii.   Count 3: PL §120.20, a class A misdemeanor; Guilty

        iv.    Count 4: VTL § 600(2)(a), a class A misdemeanor; Not Guilty

         v.    Count 5: VTL § 1163(a), a violation; Guilty

        vi.    Count 6: VTL § 402(1)(b), a violation; Guilty

       vii.    Count 7: VTL § 375(1)(a), a violation; Guilty



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  275. Hasper received a favorable termination as to Counts 1, 2, and 4—all crimes for which a
“physical injury” was a necessary element—and those charges were all dismissed.

  276. While Hasper did not yet receive a favorable termination as to Count 3, alleging reckless
endangerment, and Counts 5, 6, and 7, the violations, Hasper intends on appealing his conviction
as to those Counts, to the Appellate Division, Second Department. Plaintiff is placing Defendants
on notice that should Hasper obtain a favorable termination as to Counts 3, 5, 6, and/or 7, at any
time, then he will seek leave to amend his Complaint to assert those causes of action for which a
favorable termination is either a necessary element, or for which the lack of a favorable
termination precludes pursuing causes of action seeking monetary damages.

  277. Hasper’s next court appearance is currently scheduled for June 1, 2020, at which time it
is anticipated that he will be sentenced as to Counts 3, 5, 6, and 7.

  278. At all times relevant herein, Defendants acted maliciously and/or wantonly in reckless
disregard of Hasper’s rights.

  279. Due to Defendants’ actions, Hasper’s liberty was restricted. He suffered, and continues to
suffer, garden-variety emotional distress, including extreme humiliation, anxiety, stress, and
difficulty sleeping. His personal and professional reputation was permanently damaged. And he
lost employment opportunities and earnings, including, but not limited to, employment
opportunities in the security and financial industries.

  280. Additionally, Hasper incurred substantial monetary damages in order to defend himself
against the false charges. Given that the criminal proceedings are still pending, the full extent of
those damages are not yet known. However, to date Hasper incurred in legal costs and fees in
excess of two-hundred thirty-five-thousand dollars ($235,000.00).


                                     CAUSES OF ACTION

  281. Plaintiff acknowledges that given his conviction as to Counts 3, 5, 6, and 7, he cannot, at
this time, maintain false arrest or false imprisonment claims due to his arrest on February 17,
2019, under 42 U.S.C. § 1983, or under New York State law. However, Plaintiff is placing
Defendants on notice that should those convictions be vacated, at any time, that he will seek
leave to amend his Complaint to assert those four claims.


                                            ONE
                  42 U.S.C. § 1983 – Malicious Prosecution (4th Amendment)

  282. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-281 as though fully
set forth herein.

 283. Defendants initiated, and continued, criminal proceedings against Hasper, and did so
without probable cause.

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  284. Specifically, D/Sgt. Russell completed three traffic summonses, and Det. Lunt completed
a fourth traffic summons and executed the Felony Complaint.

  285. As to the other individually-named defendants, they likewise initiated and continued
criminal proceedings against Hasper in a number of ways. They all played an active role in the
prosecution by knowingly participating in creating the false account of the incident which they
attributed to D/Sgt. Russell, knowingly participating with Det. Lunt in generating false witness
statements—Grady’s and D/Sgt. Russell’s, knowingly participating in creating the factually-false
narrative contained in the Felony Complaint, and knowingly participating in creating the other
false documents referenced above in order to support, and not to contradict, their agreed-upon
false account of the incident.

  286. Additionally, Defendants all initiated and continued the criminal proceedings because
they were aware that Hasper’s constitutional rights, including his right to be free from malicious
prosecution, were being violated by law enforcement officials, they each had an opportunity to
intervene to prevent the harm from occurring, and once it occurred, from continuing, however
they all failed to do so.

  287. Furthermore, Defendants all initiated and continued the criminal proceedings because
they all shared a common goal, and were all jointly involved in a common scheme, to ensure that
Hasper was detained and prosecuted based upon false charges.

  288. Defendants also initiated criminal proceedings as to the two charges which were
subsequently added by the NCDA, given that the NCDA only added those charges based upon
the fabricated information Defendants all submitted to it. Therefore, Defendants were
instrumental in brining about those charges.

 289. Defendants acted maliciously, and for a purpose other than to bring Hasper to justice.

  290. Hasper was arrested, arraigned, forced to set bail, indicted, arraigned a second time, made
to appear in court numerous times, and ultimately tried, therefore he suffered a sufficient post-
arraignment liberty restraint.

  291. Although Hasper was indicted by a grand jury, the indictment was procured by
misconduct undertaken in bad faith, fraud, perjury, misrepresentation and falsification of
evidence, withholding of exculpatory evidence, and the failure to make a full and complete
statement of facts to the grand jurors.

  292. On February 5, 2019, the criminal proceedings terminated in Hasper’s favor as to Counts
1, 2, and 4, alleging crimes in violation of Penal Law §§ 120.05(3), 120.00(1), and VTL §
600(2)(a), when Judge Quinn found Hasper not guilty of those charges, and dismissed them.

 293. Defendants therefore maliciously prosecuted Hasper, in violation of the Fourth
Amendment to the United States Constitution.




                                                42
                                          TWO
     42 U.S.C. § 1983 – Due Process Fabricating/Falsifying Evidence (14th Amendment)

  294. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-293 as though fully
set forth herein.

  295. Defendants fabricated evidence against Hasper prior to the start of Hasper’s criminal
proceedings, while they were ‘investigating’ the case, and continued fabricating evidence while
Hasper’s criminal proceedings were pending.

  296. Defendants fabricated evidence by affirmatively creating false documents and
information, by withholding exculpatory evidence from the NCDA, and by knowingly making
false statements and omissions which were material to the proceedings, as discussed above in
detail.

  297. While each individually-named defendant may not have physically drafted a document
which was fabricated, each defendant is nonetheless liable for the fabrication of all the evidence
submitted to, or improperly withheld from, the NCDA. They all knowingly participated in
creating the false account of the incident which they attributed to D/Sgt. Russell, and they all
knowingly participated in ensuring that the evidence was fabricated in a manner which would
support, and would not contradict, their agreed-upon false account of the incident.

  298. Additionally, Defendants are all liable for the fabrication of all the evidence submitted to,
or improperly withheld from, the NCDA, given that they were all aware that Hasper’s
constitutional rights, including his right not to be deprived of his liberty based upon fabricated
evidence, were being violated by law enforcement officials, they each had an opportunity to
intervene to prevent the harm from occurring, and once it occurred, from continuing, however
they all failed to do so.

  299. Furthermore, Defendants are all liable for the fabrication of all the evidence submitted to,
or improperly withheld from, the NCDA, because they all shared a common goal, and were all
jointly involved in a common scheme, to ensure that Hasper was detained and prosecuted, and
that his liberty was infringed upon, based upon fabricated evidence.

  300. The fabricated evidence, oral statements, and omissions, were materially significant to
the extent that they were all likely to influence a jury, or other fact-finder, in its determination.

 301. The fabricated evidence and oral statements were all forwarded to, and the material
omissions were withheld from, the NCDA.

  302. The fabricated evidence directly and proximately caused Hasper to be criminally charged,
indicted, made to appear in court numerous times, and ultimately tried. Therefore, each of the
above-referenced fabricated acts were part of the chain of causation which deprived Hasper of
his liberty.




                                                  43
  303. Defendants therefore fabricated evidence against Hasper and deprived him of his right to
a fair trial, in violation of the Fourteenth Amendment to the United States Constitution.


                                          THREE
        42 U.S.C. § 1983 – Unlawful Search of Hasper’s home on February 15, 2019
                                     (4th Amendment)

  304. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-303 as though fully
set forth herein.

  305. Hasper had a reasonable expectation of privacy in his home address on February 15,
2019.

  306. Det. Roche, John Doe No. 1 (who may be one of the other individually-named
defendants), and John Doe No. 2, entered Hasper’s home and remained in it without a warrant,
without satisfying any exception to the warrant requirement, and absent any other legal basis to
do so.

  307. Additionally, neither Hasper nor Ms. Todoran, the only two individuals who resided at
that address, consented to Det. Roche, John Doe No. 1, or John Doe No. 2, entering or remaining
in their home. In fact, Hasper, his attorney Mr. Davis, and Ms. Todoran, demanded that these
defendants leave, multiple times, however they refused to do so.

  308. Defendants Det. Roche, John Doe No. 1, or John Doe No. 2, therefore unlawfully
searched Hasper’s home, in violation of the Fourth Amendment to the United States
Constitution.


                                         FOUR
      42 U.S.C. § 1983 – Unlawful Seizure and False Imprisonment on March 9, 2019
                                    (4TH Amendment)

  309. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-308 as though fully
set forth herein.

  310. Defendants issued the false vehicle alarm despite knowing that the content published
therein was blatantly false—particularly the false claim that Hasper’s truck was stolen and that
he was ‘wanted.’ Additionally, Defendants knew they had no lawful basis to do so, as they had
no consent, no warrant, and no exception to the warrant requirement, to have Hasper and/or his
truck seized and/or searched.

  311. However, Defendants acted unlawfully in order to circumvent legal process and the
warrant requirement, and acted with the specific goal of having Hasper’s constitutional rights,
particularly his right to be free from unreasonable searches and seizures, violated.



                                                44
  312. Based upon their actions, directly and proximately, on March 9, 2019, Hasper was
stopped at gunpoint, and then held in a patrol car for over one hour, at the intersection of Carlls
Path and Long Island Avenue, in Deer Park, New York.

  313. Defendants intended to have Hasper confined, and based upon their knowingly-unlawful
actions, Hasper was intentionally confined.

  314. Hasper did not consent to the confinement, he was confined against his will, and he was
conscious of the confinement.

  315. Additionally, Hasper was unlawfully confined because there was no probable cause or
reasonable suspicion to believe he committed a crime, and his confinement was without privilege
or justification.

  316. While Defendants did not physically confine Hasper, they are nonetheless liable for his
unlawful seizure and false imprisonment because they all shared a common goal, and were all
jointly involved in a common scheme, to ensure that Hasper was unlawfully stopped, seized, and
detained, based upon the false alarm they knowingly issued. Defendants acted specifically to
accomplish this goal, knowing that law enforcement officers who came upon Hasper would react
in the manner that the SCPD did.

  317. Additionally, Defendants are liable for Hasper’s unlawful seizure and false imprisonment
because they were all aware that Hasper’s constitutional rights, including his right to be free
from unreasonable searches and seizures, were being violated by law enforcement officials, they
each had an opportunity to intervene to prevent the harm from occurring, however they all failed
to do so. Indeed, Defendants all had from February 15, 2019, the day the false alarm was issued,
until March 9, 2019, when Hasper was unlawfully stopped the first time, to have the false alarm
withdrawn. However, they intentionally failed to do so, despite all knowing that Hasper had
already been arraigned (and therefore, was certainly not ‘wanted’).

  318. Defendants therefore caused Hasper to be unlawfully seized, and falsely imprisoned, in
violation of the Fourth Amendment to the United States Constitution.


                                         FIVE
   42 U.S.C. § 1983 – Unlawful Seizure and Search of Hasper’s truck (4TH Amendment)

  319. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-318 as though fully
set forth herein.

  320. Defendants issued the false vehicle alarm despite knowing that the content published
therein was blatantly false—particularly the false claim that Hasper’s truck was stolen.
Additionally, Defendants knew they had no lawful basis to do so, as they had no consent, no
warrant, and no exception to the warrant requirement, to have Hasper and/or his truck seized
and/or searched.



                                                 45
  321. However, Defendants acted unlawfully in order to circumvent legal process and the
warrant requirement, and acted with the specific goal of having Hasper’s constitutional rights,
particularly his right to be free from unreasonable searches and seizures, violated.

  322. Based upon their actions, directly and proximately, on March 9, 2019, Hasper was
stopped at gunpoint while driving his truck, at the intersection of Carlls Path and Long Island
Avenue, in Deer Park, New York.

  323. Despite knowing that Hasper’s truck was not stolen, that Defendants did not have a
warrant permitting them to seize and/or search it, and that they had no probable cause to do so
either, D/Sgt. Hussain advised SCPD Sgt. Mortilla at the scene to detain Hasper’s truck, and not
to allow Hasper to recover his possessions from it. D/Sgt. Hussain then directed a uniformed
Police Officer to respond to the scene, seize Hasper’s truck, and drive off with it. Thereafter,
Defendants unlawfully maintained possession of it for 10 days, and searched it in its entirety.

 324. Hasper had a reasonable expectation of privacy in his truck.

  325. Defendants did not have a warrant to seize or search Hasper’s truck at any point in time
from when they issued the false alarm on February 15, 2019, through March 9, 2019 when they
seized and searched it, or over the next 10 days when they maintained possession of it and
searched it. Defendants did not satisfy any exception to the warrant requirement, and they had no
other legal basis, to do so.

  326. Defendants’ unlawful seizure and search of Hasper’s truck constitutes a meaningful
interference with Hasper’s possessory interest in his property.

  327. Hasper did not consent to the seizure or search of his truck, or to Defendants retaining
possession of it for 10 days. In fact, through his criminal defense attorneys Hasper repeatedly
demanded that his truck be returned, and he demanded an explanation as to Defendants’ claimed
legal basis for seizing, searching, and retaining possession of it.

  328. While Defendants did not initially physically seize Hasper’s truck on March 9, they are
nonetheless liable for its unlawful seizure and search, because they all shared a common goal,
and were all jointly involved in a common scheme, to ensure that Hasper’s property was
unlawfully seized and searched, based upon the false alarm they knowingly issued. Defendants
acted specifically to accomplish this goal, knowing that law enforcement officers who came
upon Hasper and his truck would react in the manner that the SCPD did.

  329. Additionally, Defendant are liable for the unlawful seizure and search of Hasper’s
property because they were all aware that Hasper’s constitutional rights, including his right his
right to be free from unreasonable searches and seizures, were being violated by law
enforcement officials, they each had an opportunity to intervene to prevent the harm from
occurring, however they all failed to do so. Indeed, Defendants all had from February 15, 2019,
the day the false alarm was issued, until March 9, 2019, when Hasper’s truck was unlawfully
stopped the first time, to have the false alarm withdrawn, however they intentionally failed to do



                                                46
so. Thereafter, they had 10 days to prevent the continued violation of his rights, yet failed to do
so as well.

  330. Defendants therefore caused Hasper’s truck to be unlawfully seized, and they then
unlawfully searched and retained possession of it, in violation of the Fourth Amendment to the
United States Constitution.


                                             SIX
                 42 U.S.C. § 1983 – Supervisory Liability as to D/Sgt. Hussain

  331. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-330 as though fully
set forth herein.

  332. The uniformed Police Officer who entered and drove off in Hasper’s truck on March 9,
2019 violated Hasper’s constitutional rights to be free from unreasonable searches and seizure, as
did the NCPD personnel who retained, and searched, Hasper’s truck for the next 10 days.

  333. D/Sgt. Hussain directed the uniformed Police Officer, and the other NCPD personnel
referenced above, to take the actions at issue.

  334. D/Sgt. Hussain had knowledge of the actions of the uniformed Police Officer, and the
other NCPD personnel referenced above, which violated Hasper’s right to be free from
unreasonable searches and seizure. However, D/Sgt. Hussain acquiesced in the violations, and
was deliberately indifferent to Hasper’s clearly established constitutional rights.

  335. D/Sgt. Hussain is therefore liable for the actions of the uniformed Police Officer, and the
other NCPD personnel referenced above, which violated Hasper’s constitutional rights.


                                          SEVEN
        42 U.S.C. § 1983 – Unlawful Seizure and False Imprisonment on May 6, 2019
                                     (4TH Amendment)

  336. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-335 as though fully
set forth herein.

  337. Defendants issued the false vehicle alarm despite knowing that the content published
therein was blatantly false—particularly the false claim that Hasper’s truck was stolen and that
he was ‘wanted.’ Additionally, Defendants knew they had no lawful basis to do so, as they had
no consent, no warrant, and no exception to the warrant requirement, to have Hasper and/or his
truck seized and/or searched.

  338. Based upon their actions, directly and proximately, on May 6, 2019, Hasper was stopped,
and was not free to leave for approximately 45 minutes, while he was driving southbound on the
Cross Island Parkway, approximately two miles north of Northern Boulevard.

                                                 47
  339. Defendants intended to have Hasper confined, and based upon their knowingly-unlawful
actions, Hasper was intentionally confined.

  340. Hasper did not consent to the confinement, he was confined against his will, and he was
conscious of the confinement.

  341. Additionally, Hasper was unlawfully confined because there was no probable cause or
reasonable suspicion to believe he committed a crime, and his confinement was without privilege
or justification.

  342. While Defendants did not physically confine Hasper, they are nonetheless liable for his
unlawful seizure and false imprisonment because they all shared a common goal, and were all
jointly involved in a common scheme, to ensure that Hasper was unlawfully stopped, seized, and
detained, based upon the false alarm they knowingly issued. Defendants acted specifically to
accomplish this goal, knowing that law enforcement officers who came upon Hasper would react
in the manner that Trooper Guadalupe did.

  343. Additionally, Defendants are liable for Hasper’s unlawful seizure and false imprisonment
because they were all aware that Hasper’s constitutional rights, including his right to be free
from unreasonable searches and seizures, were being violated by law enforcement officials, they
each had an opportunity to intervene to prevent the harm from occurring, however they all failed
to do so. Indeed, Defendants all had from February 15, 2019, the day the false alarm was issued,
until May 6, 2019, when Hasper was unlawfully stopped the second time, to have the false alarm
withdrawn. However, they intentionally failed to do so, even after they all knew that Hasper was
unconstitutionally seized and detained two months prior.

  344. Defendants therefore caused Hasper to be unlawfully seized, and falsely imprisoned, in
violation of the Fourth Amendment to the United States Constitution.


                                          EIGHT
         42 U.S.C. § 1983 – Due Process Violations due to the continued harassment
                                    (14th Amendment)

  345. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-344 as though fully
set forth herein.

  346. Defendants intentionally harassed Hasper over the course of several months, with the
specific intent to cause him to suffer severe emotional distress and/or with the reckless disregard
of the emotional distress their conduct would cause to Hasper.

  347. For example, they refused to place him, and allow him to be placed, in protective custody
while he was transported from NCPD Headquarters and then held for arraignment. Rather, they
ensured that he was placed with the general population of prisoners, and that it was disclosed to
all that he was former police. Defendants also issued the false car alarm with the specific goal of
having Hasper, and his truck, illegally seized and searched. After Hasper’s rights were violated

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in this respect on March 9, 2019, Defendants nonetheless refused to withdraw the false alarm,
and therefore Hasper was illegally seized a second time due to this false alarm on May 6, 2019.
Defendants also widely disseminated their fabricated account of the incident, to further cause
Hasper to suffer emotional distress.

 348. Defendants’ continued harassment was severe, pervasive, and objectively offensive.

  349. Defendants’ continued harassment was extreme and outrageous, and went far beyond the
bounds of decency tolerated by a civilized society.

  350. Defendants caused Hasper to fear for his safety, and caused him to suffer emotional
distress.

  351. Defendants therefore harassed and intimidated Hasper to the extent that they deprived
him of his due process, of the Fourteenth Amendment to the United States Constitution.


                                            NINE
                         Pendent State Claim – Malicious Prosecution

  352. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-352 as though fully
set forth herein.

 353. Defendants initiated, and continued, criminal proceedings against Hasper, and did so
without probable cause.

 354. Defendants acted maliciously, and for a purpose other than to bring Hasper to justice.

  355. Hasper was arrested, arraigned, indicted, arraigned a second time, and tried, based upon
the false charges Defendants filed against him, therefore he was seized and his personal liberty
and privacy was infringed upon.

  356. Although Hasper was indicted by a grand jury, the indictment was procured by
misconduct undertaken in bad faith, fraud, perjury, misrepresentation and falsification of
evidence, withholding of exculpatory evidence, and the failure to make a full and complete
statement of facts to the grand jurors.

  357. On February 5, 2019, the criminal proceedings terminated in Hasper’s favor as to Counts
1, 2, and 4, alleging crimes in violation of Penal Law §§ 120.05(3), 120.00(1), and VTL §
600(2)(a), when Judge Quinn found Hasper not guilty of those charges, and dismissed them.

 358. Defendants therefore maliciously prosecuted Hasper, in violation of the New York State
Constitution and laws.




                                                49
                                            TEN
                    Pendant State Claim – Fabricating/Falsifying Evidence

  359. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-358 as though fully
set forth herein.

  360. Defendants fabricated evidence against Hasper prior to the start of Hasper’s criminal
proceedings, while they were ‘investigating’ the case, and continued fabricating evidence while
Hasper’s criminal proceedings were pending.

  361. Defendants fabricated evidence by affirmatively creating false documents and
information, by withholding exculpatory evidence from the NCDA, and by knowingly making
false statements and omissions which were material to the proceedings.

  362. The fabricated evidence, oral statements, and omissions, were materially significant to
the extent that they were all likely to influence a jury, or other fact-finder, in its determination.

 363. The fabricated evidence and oral statements were all forwarded to, and the material
omissions were withheld from, the NCDA.

  364. The fabricated evidence directly and proximately caused Hasper to be criminally charged,
indicted, made to appear in court numerous times, and ultimately tried. Therefore, each of the
above-referenced fabricated acts were part of the chain of causation which deprived Hasper of
his liberty.

  365. Defendants therefore fabricated evidence against Hasper and deprived him of his right to
a fair trial, in violation of the New York State Constitution and laws.


                                       ELEVEN
    Pendant State Claim – Unlawful Seizure and False Imprisonment on March 9, 2019

  366. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-365 as though fully
set forth herein.

  367. On March 9, 2019, Hasper was stopped at gunpoint, and then held in a patrol car for over
one hour, at the intersection of Carlls Path and Long Island Avenue, in Deer Park, New York,
due to the false vehicle alarm which Defendants issued despite knowing that it was false.

  368. Defendants intended to have Hasper confined when they issued the false alarm and acted
specifically to achieve this foreseeable goal, and Hasper was intentionally confined.

  369. Hasper did not consent to the confinement, he was confined against his will, and he was
conscious of the confinement.




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  370. Defendants caused Hasper to be unlawfully confined because they did not have probable
cause to believe he committed a crime, and their confinement was without privilege or
justification.

  371. Defendants therefore caused Hasper to be unlawfully seized, and falsely imprisoned, in
violation of the New York State Constitution and laws.


                                       TWELVE
           Pendant State Claim – Unlawful Seizure and Search of Hasper’s truck

  372. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-372 as though fully
set forth herein.

  373. On March 9, 2019, Hasper was stopped at gunpoint while driving his pickup truck, due to
the false vehicle alarm which Defendants issued despite knowing that it was false.

  374. Defendants intended to have Hasper’s truck seized and searched when they issued the
false alarm, and acted specifically to achieve this foreseeable goal.

 375. Hasper had a reasonable expectation of privacy in his truck.

   376. Defendants did not have a warrant to seize or search Hasper’s truck at any point in time,
from when they issued the false alarm on February 15, 2019, through March 9, 2019 when
D/Sgt. Hussain directed the SCPD to detain it and then directed a NCPD officer enter it and drive
it away, or through the 10 days which followed during which time Defendants retained and
searched the truck. Defendants did not either satisfy any exception to the warrant requirement,
and had no other legal basis to seize or search the truck.

  377. Hasper did not consent to the seizure or search of his truck, either, or to Defendants
retaining possession of it for ten days. In fact, through his criminal defense attorneys Hasper
repeatedly demanded that his truck be returned, and he demanded an explanation as to
Defendants’ claimed legal basis for seizing, searching, and retaining possession of it.

  378. Defendants therefore caused Hasper’s truck to be unlawfully seized, and they then
unlawfully searched and retained possession of it, in violation of the New York State
Constitution and laws.


                                     THIRTEEN
     Pendant State Claim – Unlawful Seizure and False Imprisonment on May 6, 2019

  379. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-378 as though fully
set forth herein.




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  380. On May 6, 2019, Hasper was stopped, and was not free to leave for approximately 45
minutes, while he was driving southbound on the Cross Island Parkway, approximately two
miles north of Northern Boulevard, due to the false vehicle alarm which Defendants issued
despite knowing that it was false.

  381. Defendants intended to have Hasper confined when they issued the false alarm and acted
specifically to achieve this foreseeable goal, and Hasper was intentionally confined.

  382. Hasper did not consent to the confinement, he was confined against his will, and he was
conscious of the confinement.

  383. Defendants caused Hasper to be unlawfully confined because they did not have probable
cause to believe he committed a crime, and their confinement was without privilege or
justification.

  384. Defendants therefore caused Hasper to be unlawfully seized, and falsely imprisoned, in
violation of the New York State Constitution and laws


                                       FOURTEEN
                Pendent State Claim – Respondeat superior/vicarious liability

  385. Plaintiff repeats and realleges the allegations set forth in paragraphs 1-384 as though fully
set forth herein.

  386. Defendant Nassau County was, at all relevant times, the employer of Defendants D/Sgt.
Russell, Det. Lunt, Det. Vacchiano, Det. Purcell, Det. Panuthos, Det. Roche, D/Sgt. Hussain, Lt.
Troise, John Doe No. 1, and John Doe No. 2, as well as the additional police personnel whose
conduct is at issue but whose identities are not yet known to Plaintiff but are known to
Defendants.

  387. D/Sgt. Russell, Det. Lunt, Det. Vacchiano, Det. Purcell, Det. Panuthos, Det. Roche,
D/Sgt. Hussain, Lt. Troise, John Doe No. 1, and John Doe No. 2, and the additional NCPD
employees whose conduct is at issue, acted within the scope of their employment with Nassau
County when they violated Hasper’s rights and committed the various torts against him, as
outlined above.

  388. As their employer, Nassau County is vicariously liable for their actions pursuant to the
doctrine of respondeat superior.




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        WHEREFORE, Plaintiff requests the following relief jointly and severally as against all
the defendants:

          1. A trial by jury on all issues;

          2. An award of compensatory damages in an amount to be determined at trial;

          3. An award of punitive damages in an amount to be determined at trial;

          4. Disbursements, costs, and attorneys’ fees pursuant to 42 U.S.C. § 1988; and

          5. Such other and further relief as this Court may deem just and proper.


Dated: Mineola, New York
       May 26, 2020

                                                     Respectfully submitted,

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                                              By:       s/ Anthony Grandinette          .
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